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              EXHIBIT A
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                     IN THE UNITED STATES DISTRICT COURT


                            FOR THE DISTRICT OF COLUMBIA



IN RE RAIL FREIGHT FUEL SURCHARGE
ANTITRUST LITIGATION
                                                           MDL No. 1869
                                                           Misc. No. 07-489 (PLF)
                                                           Hon. Paul L . Friedman
This Document Relates To:

ALL DIRECT PURCHASER CASES                                 PUBLIC VERSION




                            Expert Report of Dennis W. Carlton, Ph.D.




                                          July 15, 2015
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I.      QUALIFICATIONS AND ASSIGNMENT

1.      I am the David McDaniel Keller Professor of Economics at the Booth School of Business
of The University of Chicago. I received my A.B. in Applied Mathematics and Economics from
Harvard University and my M.S. in Operations Research and Ph.D. in Economics from the
Massachusetts Institute of Technology. I have served on the faculties of the Law School and the
Department of Economics at The University of Chicago and the Department of Economics at the
Massachusetts Institute of Technology. I specialize in the economics of industrial organization.
I am co-author of the book Modern Industrial Organization, a leading text in the field of
industrial organization, and I also have published over 100 articles in academic journals and
books. In addition, I serve as Co-Editor of the Journal of Law and Economics, a leading journal
that publishes research applying economic analysis to industrial organization and legal matters;
serve on the Editorial Board of Competition Policy International, a journal devoted to
competition policy; and serve on the Advisory Board of the Journal of Competition Law and
Economics. I have also served as an Associate Editor of the International Journal of Industrial
Organization and Regional Science and Urban Studies, and on the Editorial Board of Intellectual
Property Fraud Reporter.

2.      In addition to my academic experience, I served as Deputy Assistant Attorney General
for Economic Analysis, Antitrust Division, U.S. Department of Justice from October 2006
through January 2008. I also served as a Commissioner of the Antitrust Modernization
Commission, created by Congress to evaluate U.S. antitrust laws. I have served as a consultant
to the Department of Justice and Federal Trade Commission on the Horizontal Merger
Guidelines, as a general consultant to the Department of Justice and Federal Trade Commission
on antitrust matters, and as an advisor to the Bureau of the Census on the collection and
interpretation of economic data.

3.      I also am a Senior Managing Director of Compass Lexecon, a consulting firm that
specializes in the application of economics to legal and regulatory issues and for which I served
as President (of Lexecon) for several years. I have provided expert testimony before various
U.S., state and federal courts, the U.S. Congress, a variety of state and federal regulatory
agencies and foreign tribunals. My curriculum vitae and a list of my testifying experience over
the last four years, is attached as Exhibit 1.


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4.      I previously filed an expert report on merits issues in this matter for Union Pacific
Railroad Company (“UP”).1 I have now been asked by Counsel for the four Defendant railroads
to analyze the economic claims and conclusions contained in the Expert Report submitted by Dr.
Jeffrey Leitzinger.2 I understand that Dr. Leitzinger was charged by the Court with “address[ing]
the reliability and integrity of Dr. [Gordon] Rausser’s opinions” in this matter and assessing “the
reliability, integrity, and accuracy of Dr. Rausser’s previous work.”3 Thus my analysis of Dr.
Leitzinger’s opinions necessarily also implicates the conclusions reached by Professor Rausser.
Where Dr. Leitzinger either ignores certain of Professor Rausser’s opinions or simply asserts
agreement with Professor Rausser without analysis or basis, I do not offer a further reply. In
those instances, Dr. Leitzinger has not added anything germane to the record to which I can
respond.

5.      Compass Lexecon is being compensated for my work on this matter since January 1,
2015 at the rate of $1,400 per hour. I have no financial interest in the outcome of this litigation.

II.     SUMMARY OF OPINIONS

6.      My main conclusion in this matter is that Dr. Leitzinger’s defense of Professor Rausser’s
analyses and opinions, including Professor Rausser’s damages model, is flawed and fails to
confirm that the model is reliable; moreover, some of Dr. Leitzinger’s analyses demonstrate the



1
        Corrected Expert Report of Dennis W. Carlton, Ph.D. On Behalf of Defendant Union Pacific
        Railroad Company, In re Rail Freight Fuel Surcharge Antitrust Litigation, MDL Docket No.
        1869, Misc. No. 07-489 (PLF), February 6, 2013 (hereinafter, Carlton Merits Report).
2
        Expert Report of Jeffrey J. Leitzinger, Ph.D., In re Rail Freight Fuel Surcharge Antitrust
        Litigation, MDL Docket No. 1869, Misc. No. 07-489 (PLF), April 1, 2015 (hereinafter,
        Leitzinger Report).
3
        Opinion and Order, In re Rail Freight Fuel Surcharge Antitrust Litigation, MDL Docket No.
        1869, Misc. No. 07-489 (PLF), November 26, 2014, at 10. Professor Rausser submitted several
        expert reports on class certification issues: Corrected Expert Report of Gordon Rausser, May 27,
        2010 (hereinafter, Rausser Corrected Class Report); Corrected Expert Reply Report of Gordon
        Rausser, September 20, 2010 (hereinafter, Rausser Corrected Class Reply Report); Supplemental
        Expert Report of Gordon Rausser, Ph.D., December 19, 2013 (hereinafter, Rausser Supplemental
        Class Report); Supplemental Reply Expert Report of Gordon Rausser, Ph.D., May 28, 2014
        (hereinafter, Rausser Supplemental Class Reply Report). Professor Rausser also submitted two
        reports in the merits phase of this case: Expert Report of Gordon Rausser, October 15, 2012
        (hereinafter, Rausser Merits Report); Expert Reply Report of Gordon Rausser, June 12,
        2013 (hereinafter, Rausser Merits Reply Report).

                                                    2
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opposite, i.e., that Professor Rausser’s model is unreliable. My opinions are summarized as
follows:

       To be reliable, an econometric model of damages must pass a fundamental test: it must
        not attribute price elevation to an alleged conspiracy when the elevation stems from
        other causes. In this case, the alleged conspiracy coincided with a period of high and
        rapidly increasing fuel prices. Because fuel costs are variable costs, a non-conspiring
        railroad will respond to an increase in fuel prices by raising its rail rates4 to its customers
        by some amount—a non-conspiratorial “pass-through”5 of increased costs to rail rates.
        Thus, for Professor Rausser’s damages model to be reliable, it must be able to distinguish
        between (a) increases in rail rates that are due to the non-conspiratorial pass-through of
        increases in fuel costs, and (b) increases in rail rates that are due to the alleged
        conspiracy. Dr. Leitzinger offers a blanket endorsement of Professor Rausser’s damages
        model, but he fails to demonstrate that the model passes this threshold test and he ignores
        his own findings that demonstrate that, in fact, Professor Rausser’s model fails this test.

       Contrary to Dr. Leitzinger’s assertions, Professor Rausser’s damages model is unreliable


                                                                            this incorrect assumption
        causes the model to find damages in a period of high fuel prices, even in the absence of a
        conspiracy to fix rail rates.



4
        Unless otherwise stated, I use the term “rail rates” to refer to the all-in price paid by shippers,
        inclusive of any fuel surcharge.
5
        Pass-through of fuel costs into rail rates is defined as the increase in the dollar rail rate for
        shipping one ton-mile when the fuel cost of shipping one ton-mile increases by $1. A pass-
        through rate of 0.80, for example, means that if the fuel cost of shipping one ton-mile increases
        by $1, then the rail rate for shipping one ton-mile increases by $0.80.
6
        As I discuss later and as Professor Kalt discussed, Professor Rausser’s model has numerous other
        flaws. See, e.g., n. 62 and § IV.C.
7




                                                       3
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                                                                                                   If
        this assumption is false, that is, if the rail rate elasticity rose during the Class Period for
        reasons unrelated to the alleged conspiracy, then Professor Rausser’s model will find
        damages even in the absence of the alleged conspiracy. (Section III.A.)

       Contrary to Dr. Leitzinger’s claims, the economic literature cited by Professor Rausser
        does not support                                                               The cited
        economic literature unequivocally demonstrates the exact opposite. (Section III.B.1.)

    
                                                        . By applying an economic concept known
        as Shephard’s Lemma, Professor Rausser’s fuel price elasticity can be shown to be
        approximately equal to the share of fuel in a railroad’s variable costs (the “fuel share”).
        For example, if the fuel share is 20 percent, then the fuel price elasticity would be 0.20.
        The fuel share can be calculated from available data that is free from any taint of the
        alleged conspiracy, and thus the fuel share provides a benchmark against which one can




                                                                              (Deposition of Dr. Gordon
        Rausser, March 5, 2014, at 376:1-379:15.) Because Dr. Leitzinger also endorses the Class &
        Merits model as reliable, I address that model in connection with certain analyses.
8




9




                                                    4
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         assess the
         (Section III.B.2 and Appendix A.)

        The empirical evidence on fuel shares presented by Dr. Leitzinger in his Expert Report
         demonstrates that Professor Rausser’s
         In his Expert Report, Dr. Leitzinger presents data on annual fuel shares showing that the
         fuel share increases as fuel price increases during the Class Period. Because the fuel
         price elasticity should equal the fuel share, this evidence demonstrates
                                                                        Dr. Leitzinger fails to note
         that his data disproves Professor Rausser’s key assumption. Moreover, Dr. Leitzinger’s
         fuel shares are higher in every year
         and the divergence between the two grows during the Class Period. As the divergence
         between Professor Rausser’s fuel price elasticity and the fuel share grows, the damages
         found by Professor Rausser’s model increase. Dr. Leitzinger fails to note the
         implications of his fuel shares, namely, that Professor Rausser’s model would find
         damages in a period of high fuel prices, even in the absence of the alleged conspiracy.
         (Section III.B.2.)

                                                               are key drivers of his finding of
         damages, and when those assumptions are changed, his damages are severely reduced or
         disappear.
                                                            . When I replace Professor Rausser’s


                Professor Rausser’s “damages” vanish. Alternative measures of fuel shares,
         including revised fuel shares presented by Dr. Leitzinger in deposition, also demonstrate
         that Professor Rausser’s damages model is unreliable. I am not correcting Professor
         Rausser’s model. Rather, I am showing that his damages model is not robust to changes
         in his assumptions that are called for by the data in this case, and that his erroneous
         assumptions determine his finding of “damages.” (Section III.C.)




10
         Professor Rausser models non-fuel costs in his model using AIILF (“All-Inclusive Index Less
         Fuel”).

                                                    5
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   I have tested Professor Rausser’s model to determine how much of a $1 increase in fuel
    costs per ton-mile would be passed through to the rail rate per ton-mile in a non-
    conspiratorial environment; that test reveals that, contrary to Dr. Leitzinger’s
    conclusion, the non-conspiratorial pass-through rates implied by the model are
    implausibly low in some years. Dr. Leitzinger proposes a method of calculating the pass-
    through rate from Professor Rausser’s model but-for the conspiracy. The pass-through
    rate calculated by Dr. Leitzinger is misleading, however, because it is calculated across a
    multi-year period, and thus it masks year-to-year variation. This averaging approach
    leads Dr. Leitzinger to conclude incorrectly that the non-conspiratorial pass-through rate
    in Professor Rausser’s model is reasonable when, in fact (using Dr. Leitzinger’s own
    calculation methodology), the non-conspiratorial, annual pass-through rate implied by
    Professor Rausser’s model is implausibly low in some years, especially in the latter years
    of the Class Period. For example, in 2007,




                                                                                    Professor
    Rausser treats any increase in rail rates that would enable railroads to recover more than
    the “allowed” (non-conspiratorial) increase in fuel cost as damages. (Section III.D.1.)

   The unreliability of Professor Rausser’s model is confirmed by the implausible rail rate
    predictions that it yields. A reliable model of rail rates should be able to accurately
    predict those rates. Dr. Leitzinger, however, does not perform any test of the model’s
    predictive power. I have performed such a test by using the model to predict pre-Class
    Period rail rates, hypothetically assuming there was a conspiracy during that period of
    time. In this simple test, the model predicts that the rates that would have prevailed
    during the pre-Class Period—if the alleged fuel surcharge conspiracy had occurred
    during that time—would have been lower than the actual, admittedly non-conspiratorial,
    rail rates that were in fact charged. Of course, the prediction that conspiratorial rates
    would be lower than non-conspiratorial rates makes no economic sense. This test further
    demonstrates that Professor Rausser’s damages model does not accurately predict rail
    rates and thus is unreliable. (Section III.D.2.)

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        Dr. Leitzinger’s Box-Cox model further disproves the reliability of Professor Rausser’s
         model. The Box-Cox model implemented by Dr. Leitzinger provides a simple test of
         whether the data support Professor Rausser’s specification for his damages model,
                                                                                            Dr.
         Leitzinger ignores the result of this test, which appears only in his backup materials. I
         show that his own test rejects
                        (Section III.E.)

        Dr. Leitzinger’s attempt to explain away the faulty assumption
                                                    through “margin compression” is not supported
         by economic theory or the empirical evidence in this case. Dr. Leitzinger speculates that
         any problem with Professor Rausser’s model arising from its failure to capture the non-
         conspiratorial effect of fuel prices on variable cost could be offset by margin
         compression. Dr. Leitzinger is arguing that if Professor Rausser’s damage model fails to
         correctly model ordinary, non-conspiratorial fuel cost pass-through into variable cost,
         then those false results might still be somehow reliable because the model also fails to
         accurately account for the pass-through between variable cost and rail rates and the two
         deficiencies will offset each other. Dr. Leitzinger provides no empirical evidence in
         support of his theory, nor does he test his theory to see if it is supported by the annual
         implied pass-through rates in Professor Rausser’s model. I have examined these, and I
         demonstrate that Dr. Leitzinger’s theory is rebutted by the fact that Professor Rausser’s
         model implies that the ordinary fuel cost recovery (as measured by the implied pass-
         through rates) is already implausibly low in the latter years of the Class Period. (Section
         III.F.)

        I have tested Professor Rausser’s damages model for “false positives,” which result
         when a damages model finds positive damages where none should exist, and I confirm
         that Professor Rausser’s model generates false positives. Professor Kalt provides
         analysis showing that Professor Rausser’s damages model generates false positives in
         several ways. I implement a false positive test based on the RCAF11 cost-escalation

11
         RCAF (“Rail Cost Adjustment Factor”) is an index of rail costs. It was established in response to
         the requirement in the Staggers Rail Act of 1980 that a quarterly cost-recovery index be created.
         The RCAF is approved by the STB each quarter. The RCAF index provides a mechanism by

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    index that Plaintiffs have never claimed was tainted by the alleged conspiracy; to the
    contrary, they have argued that rate adjustments based on RCAF had been used for
    decades and would have been used in the but-for world. I show that if shipments had
    been priced consistent with the escalation of the RCAF index, Professor Rausser’s model
    still would generate positive damages. In other words, Professor Rausser’s model results
    in false positives: it finds positive damages where, given Plaintiffs’ admission, none
    could plausibly exist. (Section IV.A.)

   Dr. Leitzinger’s and Professor Rausser’s renegotiation theory cannot explain away
    Professor Kalt’s false positives for legacy contracts. Dr. Leitzinger does not test
    Professor Rausser’s damages model for false positives. Instead, Dr. Leitzinger argues
    that the false positives found by Professor Kalt are not false. For example, in response to
    Professor Kalt’s demonstration that legacy shipments produce false positives, Dr.
    Leitzinger repeats Professor Rausser’s contention that these shippers were actually
    injured by the alleged conspiracy because they lost the ability to renegotiate their binding,
    pre-Class contracts, with the implication that contract rates can never result in a shipper
    paying rates above spot rates. This contention contradicts common sense and academic
    literature that supports the importance of contracts. Neither Dr. Leitzinger nor Professor
    Rausser provides empirical evidence supporting their theory, but I test their renegotiation
    theory using data in this case by comparing contract rail rates and spot rail rates. If their
    renegotiation theory were correct, one would expect to find that contract rates and spot
    rates are the same because a disadvantaged party would simply renegotiate its contract
    each time the spot rate moved above or below the contract rate. The data disprove this
    idea, showing instead that shippers that are under contracts pay different rates than
    shippers that are not under contracts—a difference in rates that would not persist if
    contracts were easily renegotiated as claimed by Professor Rausser and Dr. Leitzinger.
    (Section IV.B.)

   Dr. Leitzinger’s criticism of Professor Kalt’s false positives based on the pre-Class
    Period is actually a criticism of Professor Rausser’s damages model, not of Professor

    which rates in a rail freight price authority can be adjusted to reflect changes in rail operating
    costs. (Association of American Railroads, “Rail Cost Adjustment Factor (RCAF),” available at
    https://www.aar.org/data-center/rail-cost-indexes, site visited July 13, 2015).

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          Kalt’s false positives. Although Dr. Leitzinger criticizes Professor Kalt’s findings of
          damages (false positives) in the pre-Class Period, his criticism concerns Professor Kalt’s
          use of contracts with and without FSCs in his hypothetical base period but using only
          contracts with FSCs in his hypothetical conspiracy period. Dr. Leitzinger concludes that
          it is not surprising that this methodology resulted in a finding of damages. But given that
          Professor Kalt was merely following Professor Rausser’s methodology, Dr. Leitzinger’s
          criticism is really a criticism of Professor Rausser and exposes another reason why
          Professor Rausser’s damages model is unreliable. (Section IV.C.)

         Testing Professor Rausser’s model demonstrates that it does not establish common
          impact from the alleged conspiracy. Dr. Leitzinger defends Professor Rausser’s findings
          of common impact, but he has not tested whether Professor Rausser’s model
          demonstrates common impact. I perform such a test using data on the largest shippers
          during the Class Period and find that when Professor Rausser’s model is modified to
          estimate damages to individual shippers, shippers that comprise a substantial volume of
          commerce were not damaged—indeed, according to the model, they “benefitted” from
          the alleged conspiracy because they paid lower rail rates than they would have paid in the
          absence of the alleged conspiracy. Specifically, Professor Rausser’s model estimates that




                        Moreover, when Professor Rausser’s model is partially corrected to allow
          the fuel price elasticity to vary, I find that
                                                           Thus, my empirical analysis rebuts Dr.
          Leitzinger’s conclusory assertion of impact common to the class. (Section V.)

7.        I explain below the analyses underlying my opinions. The materials on which I relied in
reaching these opinions are listed in Exhibit 2, and the econometric tests and analyses that I
performed are provided in the backup materials to be produced following the submission of this
report.




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III.    THE EMPIRICAL EVIDENCE CONTRADICTS THE ASSUMPTIONS AND
        PREDICTIONS OF PROFESSOR RAUSSER’S DAMAGES MODEL AS WELL
        AS DR. LEITZINGER’S DEFENSE OF THEM

8.      Plaintiffs claim that the railroads’ alleged conspiracy to raise rail rates was accomplished
through the application of fuel surcharges; the period in which Plaintiffs claim damages from the
alleged conspiratorial surcharges, however, coincided with a period of high and rapidly
increasing fuel prices. Fuel costs are variable costs, and basic economic theory teaches that,
when variable costs increase, a firm will pass through some or all of its increased variable costs
to its customers in the form of increased prices, even in the absence of conspiracy.12 Thus, to be
reliable, it is imperative that Professor Rausser’s damages model pass a fundamental test: the
model must be able to distinguish between increases in rail rates that are due to non-
conspiratorial causes (including pass-through of increases in fuel prices to rail rates) and
increases in rail rates that are due to the alleged conspiracy.13 A model that fails this test will
incorrectly attribute rail rate increases to the alleged conspiracy that are, in fact, attributable to
non-conspiratorial pass-through of higher fuel prices.

9.      Dr. Leitzinger defends Professor Rausser’s model, including his regression that estimates
the fuel price elasticity, as reliable. As support for his opinion on the reliability of Professor
Rausser’s model,
                         well as his estimated level of the elasticity are consistent with the
evidence. He also asserts that Professor Rausser’s damages model
                                                         because that assumption can be relaxed
without eliminating the estimated damages. And Dr. Leitzinger asserts that Professor Rausser’s
damages estimate is conservative because his model does not capture the full margin



12
        Section III.D discusses that, depending on the underlying market conditions, a firm could even
        increase price by more than 100 percent of an increase in its unit variable costs. (See, Jeremy I.
        Bulow and Paul Pfleiderer (1983), “A Note on the Effect of Cost Changes on Prices,” Journal of
        Political Economy, 91(1), at 182-185.) The principle that a firm can pass through some, all, or
        more than 100 percent of a change in its unit variable costs depending on market conditions is
        consistent with the proposition that Defendants “price to market.” Variable costs play an
        important role in determining market prices.
13
        Dr. Leitzinger concurs that this is fundamental to the reliability of a damages model. (Deposition
        of Jeffrey J. Leitzinger, Ph.D., June 25-26, 2015 (hereinafter, Leitzinger Deposition) at 98:24-
        99:9.)

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compression that might be occurring, causing non-conspiratorial rail rates to be even lower than
what Professor Rausser’s model predicts in the non-conspiratorial world.

10.     Dr. Leitzinger’s defense of Professor Rausser’s methodology ignores evidence that
demonstrates the model’s unreliability. In fact, Professor Rausser’s model, which relies on the
key—and false—                                                          cannot distinguish between
increases in rail rates caused by non-conspiratorial fuel price pass-through and increases in rail
rates resulting from an alleged conspiracy to fix rail rates. The result is that Professor Rausser’s
model labels ordinary, non-conspiratorial fuel cost recovery as “damages.” Moreover, Dr.
Leitzinger’s own data and analysis demonstrate the fundamental flaws in Professor Rausser’s
model. Dr. Leitzinger thus not only provides no credible defense of Professor Rausser’s model,
but also provides evidence that discredits it.

11.     I understand that Plaintiffs have argued that my current report “may lack credibility”
because my prior
               Plaintiffs have completely ignored Section V of my prior report where I analyze
Professor Rausser’s model and discuss several of its flaws, including that “in contrast to the
assumption in Professor Rausser’s model of a common effect of fuel costs on prices, the actual
effect of fuel costs on prices…varies along [several] dimensions.”15 My merits report for
Defendant UP primarily focused on the conspiracy liability issue. My current report delves more
deeply into class certification and the damages models, including Professor Rausser’s STB
model which was put forth after my merits report.

12.     In any event, in my merits report I made several observations about Professor Rausser’s
Class & Merits model that identified the problem with the rail price elasticity in that model.
Those observations are consistent with the points that I have more fully developed in this report.
First, I described at length the fact that the model generates damages for legacy shipments and
shipments with a mileage-based FSC, which reveal “other economic factors not appropriately
captured by the model.”16 Second, I specifically contrasted the rail rate elasticity of that model

14
        Plaintiffs’ Memorandum of Law In Opposition to Defendants’ Motion for Leave to File
        Supplemental Expert Report, In re Rail Freight Fuel Surcharge Antitrust Litigation, MDL Docket
        No. 1869, Misc. No. 07-489 (PLF/AK/GMH), July 8, 2015, at 3.
15
        Carlton Merits Report, § V and ¶ 137.
16
        Carlton Merits Report, § V.C.1.

                                                 11
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(which implies that a
          with the fact that, “on average, fuel costs represented 11.0 percent of UP’s operating
revenues during the 2000-2003 pre-Class Period.”17 Third, in Figure 11 in my Merits Report, I
showed how the low cost pass-through rate in the Class & Merits model would allow only a very
small fraction of a $1 increase in the fuel cost of shipping a ton-mile to be passed through to rail
rates per ton-mile and showed that this was particularly pronounced in the years with high fuel
costs.18 I specifically attributed this to the “fact that [Professor Rausser’s] baseline relationship
between fuel costs and prices is implausibly low.” Fourth, I wrote that:19

        One potential explanation for the nonsensical results from Professor Rausser's
        model is that the differential pricing behavior that Professor Rausser attributes to
        the conspiracy actually reflects a different relationship between fuel prices and
        rail prices during the Class Period, perhaps driven by the fact that fuel prices
        during the Class Period were higher and more volatile than at any point during the
        pre-Class Period.

13.     My focus on the “different relationship between fuel prices and rail prices during the
Class Period” when “fuel prices were higher and more volatile” involves the same basic
principles that I am addressing here. Finally, I showed that the Class & Merits model was
structurally unstable over different time periods, which, as I explained, means that the
“relationship between fuel costs and [rail] prices varies” across time periods.20

14.     In short, my prior merits report identified as flaws in the Class & Merits model the same
economic concepts that I have more fully developed here in response to Dr. Leitzinger’s report.
The model does not properly account for the effects of the higher fuel prices in the Class Period.
That point remains at the core of my analysis here with


15.     This section is structured as follows: In Section III.A, I explain that, although Dr.
Leitzinger defends Professor Rausser’s use of simplifying assumptions in his model, one key
assumption—


17
        Carlton Merits Report, ¶ 145.
18
        Carlton Merits Report, Figure 11 and ¶ 146.
19
        Carlton Merits Report, ¶ 148.
20
        Carlton Merits Report, § V.B.

                                                  12
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      21
           In Section III.B,                                                                is rejected by the
economic literature, by the Christensen model, and by Dr. Leitzinger’s own data on annual fuel
shares. In Section III.C, I show that Professor Rausser’s erroneous fuel price elasticity has a
large effect on damages; using Dr. Leitzinger’s own fuel share data (as well as alternative
measures of fuel shares) yields a finding of no damages or drastically reduced damages,
demonstrating that Professor Rausser’s damages model is unreliable.22 In Section III.D, I show
that Professor Rausser’s modeling flaws result in nonsensical predictions, indicating that the
model is unreliable. In Section III.E I show that Dr. Leitzinger’s Box-Cox model, rather than
supporting Professor Rausser’s model, further undermines it. In Section III.F, I discuss the fact
that Dr. Leitzinger’s new theory—that Professor Rausser’s model is conservative because,
according to Dr. Leitzinger, it fails to account for margin compression—is unfounded.

           A.      A LTHOUGH D R . L EITZINGER D EFENDS P ROFESSOR R AUSSER ’ S
                                                                    THE A SSUMPTION
                   LEADS TO P ROFESSOR R AUSSER ’ S F INDING OF D AMAGES AND IS
                   F UNDAMENTALLY F LAWED

16.




21
           Professor Rausser’s model has other flaws as well, but I focus here on the fuel price elasticity
           assumption since it is fundamental in determining his finding of damages and, on its own, it
           renders his model unreliable. Dr. Leitzinger appears to appreciate the importance of the fuel
           price elasticity assumption in Professor Rausser’s model since he discusses this aspect of
           Professor Rausser’s model at great length in his report and even performs original work in an
           attempt to defend the assumption. (Leitzinger Report, ¶¶ 114-141.)
22
           The corrections discussed in this section should not be construed as an endorsement of Professor
           Rausser’s model.
23
           Professor Rausser’s econometric specification is known as


24




                                                       13
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17.
                                                         that it is common practice to adopt
simplifying assumptions in an econometric model and that models should be judged not on the
realism of their assumptions but on their ability “to provide meaningful and economically
sensible answers for the question at hand.”25 Although I agree that simplifying assumptions are
sometimes appropriate, they are not appropriate if they are false and if adjusting those
assumptions to be more accurate leads to different conclusions. Thus it is important to test
whether the assumptions underlying a model are contradicted by known facts and whether the
results of the model are sensitive to those assumptions so that small changes in the assumptions
cause the model to yield different results.


                                                 Such a discrepancy between a model’s
assumptions and the real world are problematic in this case because of the important role that the
fuel price elasticity plays in determining damages in Professor Rausser’s model.

18.




                                                  I discuss this assumption further below in Section
        III.C.
25
        Leitzinger Report, ¶ 105.

                                                14
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                                                                    If the but-for fuel price elasticity in
the Class Period is higher than Professor Rausser’s estimated non-conspiratorial fuel price
elasticity of        the model will misattribute some or all of the rail rate increases during the
Class Period to the alleged conspiracy rather than to the increase in fuel price. In other words, if
the but-for fuel price elasticity during the Class Period is higher than               hen Professor
Rausser’s model will incorrectly find damages, even if there were no conspiracy. Thus, given




26


                 	




27
        Professor Rausser has offered several different estimates of the rail rate elasticity in his various
        reports. Professor Rausser’s first (corrected) report,

                    (Rausser Corrected Class Report at 119.) In his next report, he presented his Class &
        Merits model, which yielded an estimate of        which is still implausibly low. (Rausser
        Merits Report at 170.) In the face of opposing experts’ critiques, including my own opinions set
        forth in my Merits Report (Carlton Merits Report, ¶¶ 144-146), Professor Rausser changed his
        model again, this time offering his STB model that yielded

                                                                           As I explain in more detail below,

                                                                         an assumption that is inconsistent
        with the data that Dr. Leitzinger presents.

                                                      15
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Professor Rausser’s framework, the accuracy of the estimation of the non-conspiratorial fuel
price elasticity is one key element in specifying a reliable model of damages.28

19.     Dr. Leitzinger agreed that if the non-conspiratorial fuel price elasticity used in Professor
Rausser’s damages model was lower than the actual elasticity, then the model could “produce
overcharges where none existed.”29 Dr. Leitzinger nevertheless defends Professor’s Rausser’s
modeling approach as “reasonable and reliable.”30 As I show in the rest of this section, Dr.
Leitzinger’s defense of the model is invalid;                                                                   a
time of rising fuel prices is rejected by Dr. Leitzinger’s analysis of fuel shares as well as his Box-
Cox analysis.31                                                            incorrectly leads Professor
Rausser to find damages.32 As a result of this fundamental error, Professor Rausser’s model
cannot reliably estimate damages from the alleged conspiracy. Because the model fails to
provide an economically sensible framework for estimating damages in this case, Professor
Rausser’s model is unreliable and must be rejected.




28
        As I explained above, I do not claim that replacing Professor Rausser’s
                 with an accurate measure of fuel price elasticity would make Professor Rausser’s
        framework reliable, given the other problems with his model that I discuss in this report and in
        my Merits Report.
29
        Leitzinger Deposition at 441:18-442:11.
30
        Leitzinger Report, ¶¶ 140-141; see, also, Leitzinger Report, ¶¶ 45 and 198.
31



32



                                                                                          still would fail to
        account properly for the increases in rail rates arising from increases in fuel costs.




                                                      16
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        B.       E MPIRICALSTUDIES OF RAIL RATES AND              D R . L EITZINGER ’ S   OWN FUEL
                 SHARES DEMONSTRATE




                 1.      Contrary to
                                                                                           with other
                         empirical studies of fuel price elasticities

20.     Professor Rausser attempts to show                                                           and
estimate are supported in the literature by pointing to five empirical studies, including a study by
Christensen Associates.33 None of these studies uses the type of econometric model that
Professor Rausser uses here to model costs, specifically                              Instead, all of
the cited studies use a more detailed and flexible specification, the translog specification.
                                                                                            In the
translog specification used in the cited studies, the fuel price elasticity is calculated as a function
of several different variables and estimated parameters, and thus the fuel price elasticity can vary
over time as those variables change. Thus, unlike Professor Rausser’s model, the translog model
in each of the studies he cites
                                                        Dr. Leitzinger nonetheless opines that
Professor Rausser’s reliance on these studies is appropriate.34 Dr. Leitzinger is mistaken.

21.     The economic literature


             As already described by Professor Kalt, the empirical studies of costs cited by


33
        Rausser Supplemental Class Reply Report, at 47 (citing to the Christensen Study); see, also,
        Leitzinger Report, n. 362; Rausser Merits Reply Report at 247-248 (citing to four empirical
        studies,                                                                        The studies cited
        are Laura Padilla Angulo (2013), “Labour Inputs Substitution During Corporate Restructuring: A
        Translog Model Approach for US Freight Railroads,” Applied Economics, 45(18):2547-2562;
        John D. Bitzan and Theodore E. Keeler (2003), “Productivity Growth and Some of Its
        Determinants in the Deregulated U.S. Railroad Industry,” Southern Economic Journal, 70(2):232-
        253; John D. Bitzan (2003), “Railroad Costs and Competition: The Implication of Introducing
        Competition to Railroad Networks,” Journal of Transport Economics and Policy, 37(2):201-255;
        Wesley W. Wilson (1997), “Cost Savings and Productivity in the Railroad Industry,” Journal of
        Regulatory Economics, 11(1):21-40; and Laurits R. Christensen Associates, Inc. (2009),
        “Analysis of Competition, Capacity, and Service Quality,” Revised Final Report Prepared for The
        Surface Transportation Board, Vol. 2 (hereinafter, Christensen Study).
34
        Leitzinger Report, ¶¶ 186-187.

                                                   17
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Professor Rausser, including the Christensen Study, imply fuel price elasticities that vary over
time because the fuel price elasticity estimates depend on interactions with several other
variables and those variables change over time.35 Focusing on the Christensen Study, Dr.
Leitzinger claims to answer Professor Kalt by showing that the fuel price elasticity calculated at
the sample means36 of all of the variables




                                                                                       Professor
Rausser’s calculation is akin to calculating the average daily temperature at noon in Chicago
over the course of a year, and then concluding that the temperature at noon in Chicago on any
given day in that year is always equal to that average. Dr. Leitzinger’s claimed defense of
Professor Rausser is both tautological and irrelevant.

22.     Importantly, Professor Rausser’s calculation
                    obscures the fact that, in the Christensen model, the fuel price elasticity varies
over time and through interactions with other variables.38 Dr. Leitzinger fails to recognize this
variation over time in the fuel price elasticities implied by the Christensen study. This is a key
failing of Dr. Leitzinger’s review of Professor Rausser’s model because once one allows
elasticities to vary, consistent with the fuel share data, Professor Rausser’s damages are
drastically reduced or disappear.


35
        Sur-Reply Declaration of Joseph P. Kalt, Ph.D., July 21, 2014 (hereinafter, Kalt Remand Sur-
        Reply Report), ¶¶ 15-16.
36
        A “sample mean” refers to the average value of a variable in a particular sample of data.
37
        Leitzinger Report, ¶ 187.
38
        Professor Rausser has produced a supplemental workpaper that claims to calculate a fuel price
        elasticity from the Christensen Study that accounts for the interaction of the fuel variable with
        time. (See Rausser Workpapers, September 2014, “Christensen Time Trend.xlsx”; see, also, Kalt
        Remand Sur-Reply Report, Figure SR-3.) This calculation is incorrect. When log cost is modeled
        using a translog cost equation, where the fuel price affects variable costs not only directly but also
        through interactions with other variables, the estimated elasticity depends not just on the
        parameters on log fuel price and its interaction with time, but also on the levels of all other
        variables that are interacted with log fuel price. At any point in time, the level of the variables
        generally will differ from their mean values. Dr. Leitzinger agrees with this basic fact.
        (Leitzinger Deposition at 236:2-7.)

                                                     18
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                2.       Dr. Leitzinger’s analysis demonstrates that fuel price elasticities
                         increase with fuel prices and are higher in every year than
                         estimated by Professor Rausser

23.
                                       but it is also possible to calculate the railroads’ fuel price
elasticity using available data on the railroads’ variable costs and their expenditures on fuel. I
show in Appendix A how Professor Rausser’s fuel price elasticity is related to the railroads’ fuel
share of variable cost according to a well-known result in economics known as Shephard’s
Lemma.39 In particular, I show that, given Professor Rausser’s model, his fuel price elasticity
can be treated as being approximately equal to the fuel share of variable cost.40 Importantly, the
fuel shares calculated from the railroad’s data provide an independent measure of the fuel price
elasticity but-for the conspiracy;




39
        Briefly, I show using Shephard’s Lemma that the formula for Professor Rausser’s fuel price
        elasticity equates to the railroads’ fuel share, if either the railroads’ cost of fuel is the HDF price
        or changes in the HDF price are passed through completely into the railroad’s cost of fuel.
40
        Professor Leitzinger appears to acknowledge this equality in his Expert Report, and moreover
        uses his fuel shares to make comparisons against fuel price elasticities. (Leitzinger Report, ¶¶
        126-127.) Yet he indicates that that the equality between fuel shares and fuel price elasticities
        would hold only if changes in the HDF price were passed through completely into the price of
        fuel to the railroads. (Leitzinger Report, ¶ 127; see, also, Leitzinger Deposition at 157:23-
        158:15.) He testified at deposition that he could not agree that the fuel price elasticity and the
        fuel share were equal because he did not know how much of an increase in HDF price would be
        passed through to the railroad’s fuel cost. (Leitzinger Deposition at 167:9-168:3.) Dr. Leitzinger
        has not done any empirical study on this relationship. I have done such an analysis and I
        estimated the relationship between HDF price and railroad’s fuel cost and find it to be 0.93,
        which is very close to 1 and supports the treatment of fuel shares and fuel price elasticity as being
        approximately equal. If the various measures of fuel shares that I discuss here were adjusted by a
        factor of 0.93 to allow for the possibility that the pass-through of HDF price changes into railroad
        fuel costs was less than 1, none of my conclusions about the reliability of Professor Rausser’s
        model based on my use of fuel shares would change.
        I also note that it was Professor Rausser’s



                  (For a discussion of errors-in-variables, see, James H. Stock and Mark W. Watson
        (2010), Introduction to Econometrics, 3rd Edition, Addison-Wesley, at 319-320.)

                                                      19
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24.     In his Expert Report, Dr. Leitzinger presented his calculations of fuel shares. (I will refer
to these as his “Report Fuel Shares” to distinguish them from the revised fuel shares that he
presented in his Deposition, which I will refer to as his “Deposition Fuel Shares.”) Despite Dr.
Leitzinger’s lengthy defense of Professor Rausser’s
and estimate,41 his Report Fuel Shares (and even his flawed Deposition Fuel Shares) demonstrate
that Professor Rausser’s                                                  and estimate are incorrect.

25.     Table 1 compares Dr. Leitzinger’s Report Fuel Shares in each year to Professor Rausser’s



                                     2
                                         Instead, rather than being constant, Dr. Leitzinger’s fuel
shares increase over time as fuel price increases.43 Thus Dr. Leitzinger’s own data contradict the
assumption Professor Rausser imposed on his model,
           Moreover, it also is obvious from the data in Table 1 that Professor Rausser’s fuel
price elasticity estimate is far too low.

                                                                                  44
                                                                                       Dr. Leitzinger’s own
data thus contradict Professor Rausser’s fuel price elasticity assumption and estimate.




41
        Leitzinger Report, ¶¶ 114-141.
42
        See n. 40.
43
        To the extent that a railroad has limited ability to substitute away from fuel as fuel prices rise, one
        would expect that the fuel cost share will increase as fuel price increases.
44




                                                     20
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26.    Figure 1 illustrates the relationship between Professor Rausser’s fuel price elasticity and
Dr. Leitzinger’s Report Fuel Shares. Dr. Leitzinger’s Report Fuel Shares (blue line) increase as
fuel prices (orange line) increase.




                                                21
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27.    The widening gap between the fuel shares and Professor Rausser’s fuel price elasticity
illustrates the fundamental methodological flaw in Professor Rausser’s model discussed above:




                                                                                       and
attributes the rise in responsiveness to the alleged conspiracy. The observed gap between the

                                               22
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Report Fuel Shares and Professor Rausser’s                                  would result in a
finding of damages from the alleged conspiracy using Professor Rausser’s methodology, and, as
the gap between Professor Rausser’s fuel price elasticity and the Report Fuel Shares widens, the
amount of damages estimated by Professor Rausser increases. Figure 2 shows this relationship.
The gap between Professor Rausser’s                                  and the Report Fuel Share is
shown on the horizontal axis, and the total amount of Professor Rausser’s damages is shown on
the vertical axis. Each point in the figure (the red dots) represents the combination of damages in
one year of the Class Period and the share-elasticity gap in that year. It is evident from Figure 2
that the larger is the share-elasticity gap, the larger are Professor Rausser’s damages. In the latter
years of the alleged conspiracy,


                                                                                    The growing
gap between the actual fuel shares and the fuel price elasticity used in the model cause the model
to estimate growing “damages” in these years.




                                                 23
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28.     In summary, economic theory tells us that the elasticity of variable cost with respect to
fuel prices should equal the share of fuel in variable cost and thus data on fuel shares can be used
to test whether Professor Rausser’s fuel price elasticity is reasonable. Dr. Leitzinger provided in
his Expert Report data on fuel shares to use in this validation process. These Report Fuel Shares
directly contradict Professor Rausser’s
        Rather than reliably estimating damages from the alleged conspiracy, therefore, Professor
Rausser’s model will find increasingly large damages over time—even in the absence of
conspiracy—as the gap between the fuel shares and Professor Rausser’s fuel price elasticity
grows. Professor Rausser’s critical mistake in assuming that
        his damages model to fail, in Dr. Leitzinger’s words, “to provide meaningful and
economically sensible answers for the question at hand.”45 Despite providing both the method
and tools (data) with which to test Professor Rausser’s fuel price elasticity assumption and

45
        Leitzinger Report, ¶ 105.

                                                 24
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estimate, Dr. Leitzinger fails to do so. Had he done so, he would have recognized the critical
flaw of Professor Rausser’s                                                and estimate.

        C.      U SING D R . L EITZINGER ’ S R EPORT F UEL S HARES              IN   P ROFESSOR
                R AUSSER ’ S MODEL
                                                RESULTS IN A FINDING OF NO DAMAGES AND
                D R . L EITZINGER ’ S D EPOSITION F UEL S HARES , THOUGH FLAWED , ALSO
                DEMONSTRATE THAT P ROFESSOR R AUSSER ’ S MODEL IS UNRELIABLE

29.     As explained above and acknowledged by Dr. Leitzinger, the elasticity of variable cost
with respect to fuel price can be estimated using annual data on fuel shares. Dr. Leitzinger
provided such estimates, with his


                                                              The natural question to ask, then, is
what happens to Professor Rausser’s estimate of overcharges when Dr. Leitzinger’s annual
Report Fuel Shares are used in place of Professor Rausser’s


30.     In addition to replacing Professor Rausser’s                                              with
Dr. Leitzinger’s Report Fuel Shares, I make one additional change to Professor Rausser’s
treatment of elasticities. Professor Rausser’s model includes
                                                              7
                                                                  Just as Professor Rausser’s model




                                                                           49
                                                                                Just as Professor Rausser


46
        See Table 1 above.
47
        Rausser Merits Report, at 169. See, also, Rausser Merits Reply Report, Table 103.
48
        Rausser Merits Reply Report, Table 103.
49
        If I simply replace Professor Rausser’s                          with the annual fuel shares
        calculated by Dr. Leitzinger, without any corresponding change to the non-fuel cost elasticity, I
        find that the average overcharge under Professor Rausser’s model falls to                 (See my
        backup materials for these results.) This one change demonstrates the sensitivity of the model to
        the fuel price elasticity.
        Dr. Leitzinger cautioned against making changes to only one elasticity in a model, saying “a full
        accounting for the effects of changing elasticities over time would also incorporate changes in the

                                                    25
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                              As fuel costs as a share of variable cost grew during the Class Period,
all other costs (i.e. non-fuel costs) as a share of variable cost declined and, correspondingly, the
non-fuel cost elasticity declined during that period.

31.     I allow the non-fuel cost elasticity to vary over time in two alternative ways, both of
which yield similar results. In the first method, I allow the non-fuel cost elasticity to vary over
time so that the model estimates a separate AIILF coefficient for each year.50 In the second
method,51 I model the elasticity in each year as being equal to one (1) minus the fuel price
elasticity in that year.52

32.     If Professor Rausser’s methodology reasonably captures the effect of fuel price increases
on railroads’ costs and rail rates, then his damages estimates should not change much if one
replaces his fuel price elasticity estimate with Dr. Leitzinger’s Report Fuel Shares and allows the
non-fuel cost elasticity to vary over time. In fact, however, my more realistic treatment of
elasticities causes the damages estimates produced by Professor Rausser’s model to change
dramatically. Indeed, his damages disappear.

33.     My results are shown in Table 2. The estimated overcharges for both ways of treating the
non-fuel cost elasticity just described are negative: damages are              percent when the non-fuel-
cost elasticity is allowed to vary using a separate coefficient in each year and damages are
percent when the non-fuel-cost elasticity varies over time but is modeled to equal one (1) minus




        relevant elasticities as to the other [input] factors identified by Christensen Associates.”
        (Leitzinger Report, ¶ 132.)
50
        In particular, I include in the model an interaction term between the AIILF variable and a dummy
        variable for each year.

51
        To the extent that AIILF is a price index of the costs of all other factor inputs to a railroad, then
        the two cost shares (of fuel and all other factor inputs) should add up to 1.
52
        This simply means that the sum of the fuel share of variable cost and the non-fuel share of
        variable cost equals one.

        that is, I subtract the effect of non-fuel costs on rail rates by subtracting the product of the non-
        fuel cost elasticity and the log of AIILF from the log rail rate for each observation. (Rausser
        Merits Reply Report, at 248.)

                                                      26
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the fuel price elasticity in each year.53 Thus, replacing Professor Rausser’s faulty elasticity with
elasticities that are consistent with the empirical evidence on fuel shares causes Professor
Rausser’s damages to disappear.




34.     I make no claim to have fixed Professor Rausser’s damages model by altering his
treatment of elasticities to better reflect the existing data; numerous other flaws still remain.54
Nevertheless, my analysis yields a straightforward conclusion
                                                                                    This assumption both

53
        As expected, when using separate coefficients in each year, the
                                 are positive and statistically significant, and, consistent with
        expectations that when fuel shares are increasing, they decrease over time. I note that the
        coefficient on the                                              is positive and significant in both
        specifications.
54
        See, e.g., n. 62 and § IV.C.

                                                     27
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impacts substantially his damages estimates and is demonstrably wrong. When these elasticities
are modeled more realistically—and Dr. Leitzinger’s own calculations of annual fuel shares are
used as the fuel price elasticities—Professor Rausser’s model yields a finding of no damages.

                1.      Dr. Leitzinger’s revised fuel shares provided in his deposition are
                        lower than fuel shares estimated using other data and yet still
                        contradict Professor Rausser’s                                      and
                        result in greatly reduced damages

35.     In his deposition, Dr. Leitzinger presented a new set of fuel shares (“Deposition Fuel
Shares”).55 The Deposition Fuel Shares, which range from                       during the Class Period
with an average of         differ substantially from the Report Fuel Shares, which range from
        with an average of        during the Class Period. Dr. Leitzinger testified that he changed
his fuel share calculation not because there was an error in his original calculation but rather
because he is attempting to match Professor Rausser’s methodology.56 Dr. Leitzinger’s approach
in matching Professor Rausser’s methodology is problematic because it caused him to exclude a
large portion of data;57 if that data had not been excluded, Dr. Leitzinger’s revised fuel shares
would not have changed much from his Report Fuel Shares.

36.     In calculating his Deposition Fuel Shares, Dr. Leitzinger used the same sample of data
from the STB’s Carload Waybill Sample (“CWS”) that Professor Rausser used to estimate the
variable cost function in his STB model. Table 3 shows that Dr. Leitzinger estimated his
measure of railroads’ variable cost using only about 1/6 of all traffic in the CWS data and less
than ¼ of the unregulated traffic.58 Neither Professor Rausser nor Dr. Leitzinger provides any
justification for their use of a small subset of the available data.59


55
        Leitzinger Deposition, Exhibit 1.
56
        Leitzinger Deposition at 126:5-128:11 and 139:3-140:4.
57
        For example, Dr. Leitzinger testified that he expected that Professor Rausser’s data included
        contract unregulated shipments. (Leitzinger Deposition at 492:10-17.) In fact, it did not. (See n.
        58.)
58




        2008 Surface Transportation Board Carload Waybill Sample, August 31, 2009, at 62.)
        Intermodal freight and freight traveling by boxcar are also exempt from STB rate regulation.
        (Expert Report of Joseph P. Kalt, Ph.D., January 22, 2013 (hereinafter, Kalt Merits Report),
        ¶301.)

                                                    28
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      Table 3: Dr. Leitzinger's Deposition Fuel Shares are Based on Only a Small Fraction of the
                                Available Data for Unregulated Traffic

                                                              Percent of All
                                       Percent of All Ton- Deregulated Ton-
                                        Miles used in Dr. Miles used in Dr.
                                            Leitzinger's       Leitzinger's
                                         Deposition Fuel Deposition Fuel
                                                   Shares            Shares
                              1999                 17.1%             28.0%
                              2000                 17.6%             27.4%
                              2001                 16.4%             24.6%
                              2002                 16.6%             24.5%
                              2003                 17.0%             23.4%
                              2004                 18.1%             22.6%
                              2005                 18.1%             22.8%
                              2006                 17.0%             21.7%
                              2007                 16.2%             20.7%
                              2008                 15.1%             19.9%
                              Source: Carload Waybill Sample.



                                                                                                Lastly,
         contract traffic is not subject to STB rate regulation (49 U.S.C. § 10709) and is identified in the
         CWS data by a “Calculated Rate Flag” used to protect confidential contract rate information.
         (Reference Guide for the 2008 Surface Transportation Board Carload Waybill Sample, August
         31, 2009, at 40, 53.)
59



                                                      I understand that the Class is defined as:
            All entities or persons that at any time from July 1, 2003 until December 31, 2008 (the
            “Class Period”) purchased rate-unregulated rail freight transportation services directly
            from one or more of the Defendants, as to which Defendants assessed a stand-alone
            rail freight fuel surcharge applied as a percentage of the base rate for the freight
            transport (or where some or all of the fuel surcharge was included in the base rate
            through a method referred to as “rebasing”) (“Fuel Surcharge”).
         I also understand that the following categories of shippers are excluded from the Class:
            (a) Defendants, any subsidiaries or affiliates of Defendants, any of Defendants’ co-
            conspirators, whether or not named as a Defendant in the Complaint, and all federal
            governmental entities; and, (b) all entities or persons that paid a Fuel Surcharge
            directly to any of the Defendants solely pursuant to a railroad-shipper contract that
            was: i) Entered into before July 1, 2003; and, ii) Provided for a stand-alone Fuel
            Surcharge to be paid under a predetermined formula specifically set forth in the
            contract.
         (Leitzinger Report, n. 1, citing Rausser Merits Report at 3.)

                                                      29
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37.     The use of a subset of the data does not by itself imply that Dr. Leitzinger’s Deposition
Fuel Shares are problematic. But here, Dr. Leitzinger’s Deposition Fuel Shares are problematic
because they are very different from fuel shares calculated using either all unregulated traffic or
all traffic in the CWS data.60 Table 4 and Figure 3 below compare Dr. Leitzinger’s Report and
Deposition Fuel Shares to fuel shares calculated using all unregulated traffic and all traffic in the
CWS data. Dr. Leitzinger’s Deposition Fuel Shares are outliers. The fuel shares calculated
using the other three methods are very similar but the Deposition Fuel Shares are lower.
Moreover, the fuel shares based on all unregulated traffic and all traffic incorporate variable cost
rather than operating cost, which Dr. Leitzinger says he now prefers. Thus, it is clear that what
drives Dr. Leitzinger’s severe reduction in his Deposition Fuel Shares is not the shift from using
operating cost in his Report Fuel Shares to using variable cost in his Deposition Fuel Shares61 but
rather the unjustified use of an unrepresentative sample on which to base his calculation.




60
        Using all traffic (regulated plus unregulated) circumvents the problem of common cost allocation
        in the STB Uniform Railroad Costing System (“URCS”) which is the source of the variable costs
        used by Dr. Leitzinger in his Deposition Fuel Shares. URCS’s methodology for allocating
        common costs has been recognized as being problematic. (See Surface Transportation Board
        (2010), “Report to Congress Regarding the Uniform Rail Costing System,” at 1 and 11-14.)
61
        Dr. Leitzinger testified that his Report Fuel Shares and Deposition Fuel Shares differed solely due
        to the switch from operating costs to variable costs. (Leitzinger Deposition at 128:5-128:11.)

                                                    30
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38.     Even if one accepted Dr. Leitzinger’s Deposition Fuel Shares, they continue to
demonstrate that Professor Rausser’s                                                            is
incorrect. Furthermore, as I show in Table 5 below, using Dr. Leitzinger’s Deposition Fuel
Shares in Professor Rausser’s damages model reduces the damages by about two-thirds.62 The
use of other fuel share estimates discussed above result in no damages. Taken together, these
results indicate that Professor Rausser’s damages model is unreliable.




62
        Professor Rausser’s average overcharge is       percent. Using Dr. Leitzinger’s Deposition Fuel
        Shares as elasticities, the average overcharges are     percent when the coefficient on the AIILF
        variable equals one (1) minus the fuel elasticity in each year, and     percent when that
        coefficient is estimated with separate coefficients in each year. Professor Rausser’s model also
        errs by comparing rates that include FSCs in the Class Period to all rates (both with and without
        FSCs) in the pre-Class Period. This “apples and oranges” error was criticized by Dr. Leitzinger,
        as is described in Section IV.C below. If I correct this error, the average overcharges under these
        two specifications are       percent and     percent respectively.

                                                    31
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       D.      PROFESSOR RAUSSER ’ S FLAWED DAMAGES MODEL YIELDS IMPLAUSIBLY
               LOW COST PASS - THROUGH AS WELL AS NONSENSICAL PRICE
               PREDICTIONS WHEN THE MODEL IS APPLIED TO THE PRE - CLASS PERIOD

39.    Dr. Leitzinger has opined that Professor Rausser’s damages model is reliable for the
estimation of damages. If the model were reliable, then we would expect it to perform well in
dimensions other than the estimation of overcharges, and the reliability of a model that failed to
give economically sensible results or predictions should be questioned. In this section, I provide
two tests of the model’s results or predictions. First, I show that Professor Rausser’s model
implies fuel cost pass-through rates that are implausibly low, particularly in the years where the
model finds most of the alleged damages. Dr. Leitzinger’s pass-through calculations mask the
low pass-through rates leading him to conclude incorrectly that the pass-through rate is
reasonable. Second, I show that Professor Rausser’s damages model yields economically
unsound results when it is used to predict prices in the pre-Class Period. Dr. Leitzinger provides
no test of the model’s ability to predict prices. These failures of the damages model are clear
indications that the model as specified is unreliable and must be rejected.




                                                32
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                1.      In many years during the Class Period, the implied annual dollar
                        pass-through rate in Professor Rausser’s model is far below the
                        calculated by Dr. Leitzinger

40.     Using Professor Rausser’s estimate of                                             Dr.
Leitzinger estimates an implied average dollar pass-through rate of fuel costs into rail rates but-
for the conspiracy.63 He estimates this pass-through rate to be
                                                                                         Thus,
according to Dr. Leitzinger’s calculation,




41.     Dr. Leitzinger’s pass-through calculation is misleading because he calculates the pass-
through rate based on changes in fuel costs and rail rates over long time periods: he compares the
average rail rate and fuel cost in the pre-Class Period (1999-2003H1) to the average rail rate and
fuel cost in the Class Period (2003H2-2008). To get a more accurate representation of the pass-
through rates over time covered by Professor Rausser’s model, Dr. Leitzinger should have
calculated the pass-through rate implied by the model using shorter time periods, e.g., annual
pass-through rates, which would be calculated using the changes in average rail rates and fuel
costs from year to year.

42.     Applying Dr. Leitzinger’s methodology on a year-by-year basis yields the implied annual
pass-through rates shown in Table 6. In the years when fuel prices were highest


                                                                      This means that, in 2007, for
example, Professor Rausser’s damages model allows a railroad to pass-through to shippers in the
form of higher rail rates only       for every dollar increase in its fuel cost per ton mile.
Professor Rausser classifies as damages any increase in rail rates that recovers more
for every dollar increase in fuel costs per ton-mile. If fuel cost per ton mile increased by $1 in
2007 and rail rates per ton-mile increased by that same $1, Professor Rausser’s model would
treat       of the rail rate increase as damages.




63
        Leitzinger Report, ¶ 191.

                                                    33
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43.     Because Dr. Leitzinger defends Professor Rausser’s Class & Merits model,64 I have also
computed the implied annual pass-through rates from that model in Table 6. The pass-through
rates implied by the Class & Merits model are even lower than those implied by the STB model,
with the pass-through rate in the Class & Merits model averaging about ¼ the pass-through rate
from the STB model. The average implied pass-through during the Class Period under the Class
& Merits model is         with a low of                Thus, using the Class & Merits model, in
2007, Professor Rausser classifies as damages any increase in rail rates that recovers more than
                                           If fuel cost increased by $1 in 2007 and rail rates
increased by that same $1, Professor Rausser’s model would trea               of the rail rate
increase as damages.




44.     This analysis demonstrates that Professor Rausser’s model allows pass-through rates
(but-for the conspiracy) that are implausibly low when fuel costs are high. The low pass-through

64
        Leitzinger Deposition at 438:7-440:24.

                                                 34
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rates implied by Professor Rausser’s model are another consequence of
                       . The low implied pass-through rate in the years with high fuel prices
results from the large gap between Professor Rausser’s                                          and the
prevailing elasticities (measured by fuel shares) in those years (see Figure 1, above). This
explains why Professor Rausser’s model finds large damages in those years:                        of the
total damages estimated by Professor Rausser is generated during the 2006-2008 period,65 when
fuel prices were at their highest levels.

                2.      Using Professor Rausser’s model to predict prices in the pre-Class
                        Period yields nonsensical results, demonstrating that Professor
                        Rausser’s model is fundamentally flawed; Dr. Leitzinger fails to
                        provide any such predictive tests of Professor Rausser’s model

45.     Professor Rausser’s fundamental modeling flaw is his use of a
                                                           and this causes him to mis-attribute rail rate
increases to the alleged conspiracy rather than to non-conspiratorial pass-through of increases in
fuel prices to rail rates. As further evidence to illustrate that Professor Rausser’s model is
unreliable, I test how well his model predicts rail rates during a time period outside of that used
to estimate his model. The accuracy of such “out-of-sample” predictions is one test of a model’s
reliability.66 Professor Rausser’s model fails to provide reasonable predictions of prices in the
pre-Class Period. This is further confirmation of its unreliability.

46.     To implement my test, I use his model, estimated on Class Period data, to predict rail
rates in the pre-Class Period. If a model’s rail rate predictions are not economically sensible,
then one should question whether the model accurately captures the influence of economic
variables on rail rates and this provides a test of the reliability of the model. Professor Rausser’s
model, when estimated in the Class Period and then used to predict rail rates in the pre-Class
Period, yields rail rate predictions that make no economic sense. Professor Rausser’s model
therefore does not accurately capture the influence of non-conspiratorial economic variables on



65
        Rausser Merits Reply Report at 251, Table 105.
66
        For a discussion, see, e.g., Peter Kennedy (2008), A Guide to Econometrics, Sixth Edition,
        Blackwell Publishing, at 339: “Even if time series analysts are more interested in parameter
        estimation and testing, they should be testing their specifications by evaluating their out-of-
        sample forecasting performance.”

                                                     35
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rail rates and therefore is unreliable for the purpose of estimating the impact of the alleged
conspiracy.

47.     Professor Rausser estimated his model using data from both the pre-Class and Class
Periods. In my test of his model’s reliability, I use data from the Class Period to estimate the
model and then predict rail rates for the pre-Class Period.67 If Professor Rausser’s model is
correct that there is a conspiracy that raised rail rates and that his model is correctly specified,
then predictions into the non-conspiracy period based on a model estimated in the alleged
conspiracy period should yield predictions of (conspiratorial) rail rates that are higher than the
actual rail rates in the non-conspiracy period. I
                                                                                                   68
              , obtaining a fuel price elasticity during the alleged conspiracy period of               I
then use that coefficient in Professor Rausser’s second stage and estimate his rail rate model,
again using only data from the alleged conspiracy period. Because I use data only from the
alleged conspiracy period, the model’s coefficients are the estimated relationships between rail
rates and the explanatory economic variables during the alleged conspiracy, and the model’s rail
rate predictions are interpreted as the rail rates that would prevail during a conspiracy.69
Applying the model’s estimated coefficients to the data in the pre-Class Period, I obtain
estimates of the rail rates that would have prevailed in the pre-Class Period, if the alleged
conspiracy had existed in that period.


67
        Using a model as I do here to predict prices during a non-conspiracy period is a commonly used
        method by economists, and is a well-accepted framework for analyzing damages in antitrust
        cases. (See, e.g., American Bar Association, 2010, Proving Antitrust Damages: Legal and
        Economic Issues, 2nd Edition, at 205-206; Daniel L. Rubinfeld (1985), “Econometrics in the
        Courtroom,” Columbia Law Review, 85(5):1048–1097.)
68
        Professor Rausser has also estimated this elasticity using only data from the Class Period.
        (Rausser Supplemental Class Reply Report at 50, Figure 4.) Note that this fuel price elasticity
        estimate for the Class Period is more than double Professor Rausser’s         estimate for the Class
        and pre-Class Periods combined.

        Moreover, these elasticities are estimated using only the railroads’ cost data and thus, they must
        not reflect the impact of the alleged conspiracy. The implication is that the non-conspiracy fuel
        price elasticity during the Class Period must have risen relative to its level in the pre-Class
        Period.
69
        Because this approach involves a linear prediction of rail rates from a log model, I apply a log
        adjustment (an estimate of E[exp(ε)]) to the estimated predicted rail rates. (Jeffrey M.
        Wooldridge (2013), Introductory Econometrics: a Modern Approach, 5th Edition, Cengage
        Learning, at 212-213.)

                                                    36
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48.       If Professor Rausser’s model reliably predicts rail rates, then one should find that the
predicted “conspiratorial” rail rates are higher than the actual (non-conspiratorial) rail rates in the
pre-Class Period.70 In fact, I find the opposite: Professor Rausser’s model finds that if the
alleged conspiracy had operated in the pre-Class Period, the conspiratorial rail rate would have
been       percent lower than the actual, non-conspiratorial rail rate. All else equal, it makes no
economic sense for a conspiratorial price to be below a non-conspiratorial price. This analysis
shows that Professor Rausser’s model is unreliable for the task of predicting rail rates and
estimating the impact of the alleged conspiracy.

49.       This finding follows from Professor Rausser’s flawed methodology and the fact that the
non-conspiratorial fuel price elasticity is higher in the Class Period than in the pre-Class Period.
Using a higher Class Period fuel price elasticity to predict conspiratorial rail rates in the pre-
Class Period (when fuel price elasticity is lower) would be expected to generate predicted
(conspiratorial) rail rates that are lower than the actual rail rates. By the same logic, using a
lower fuel price elasticity to predict (non-conspiratorial) rail rates in the Class Period (when fuel
price elasticity was higher) would be expected to generate lower non-conspiratorial predicted rail
rates than the actual non-conspiratorial rates, and therefore positive damages, during the Class
Period. This is one reason why Professor Rausser’s model finds damages during the Class
Period.

50.       The figures below demonstrate these points using a simple, illustrative example where
the non-conspiratorial rail rate is modeled solely as a function of fuel price. In Figure 4, as fuel
price increases, non-conspiratorial rail rates increase, but the degree of responsiveness of rail
rates to fuel prices varies over time. I have divided the data into two periods: an earlier period
with low fuel price elasticity (shown by the blue dots) and a later period with high fuel price
elasticity (shown by the red squares). By construction, there is no conspiracy, but the non-
conspiratorial fuel price elasticity is higher in the later period.




70
          A successful conspiracy would raise average prices above the level they would otherwise be, so
          pre-Class “conspiracy” rail rates—as predicted by Professor Rausser’s model estimated only on
          the alleged conspiracy time period—should be higher than pre-Class actual rail rates.

                                                    37
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 Figure 4: Relationship between Rail Rates and Fuel Price, assuming Low Fuel Price Elasticity in
                   Early Period and High Fuel Price Elasiticity in Later Period




                                                                             High Fuel Price Elasticity
                Log Rail Rate




                                Low Fuel Price Elasticity




                                                            Log Fuel Price


51.     Figure 5 below illustrates graphically that if one uses a high fuel price elasticity from the
latter period to predict rail rates in the earlier period (when the fuel price elasticity is lower), then
predicted rail rates will be below actual rail rates (the dashed red line lies below the blue dots).




                                                               38
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 Figure 5: Using Period of High Fuel Price Elasticity to Predict Rail Rates in Period with Low Fuel
                Price Elasticity Yields Predicted Rail Rates below Actual Rail Rates




                Log Rail Rate




                                                                  Predicted log rail rate




                                                 Log Fuel Price


52.     Similarly, Figure 6 below illustrates that if one uses a low fuel price elasticity from the
earlier period to predict rail rates in the later period (when the fuel price elasticity is higher), then
predicted rail rates also will be below actual rail rates (the dashed blue line lies below the red
squares). Simply put, using a non-conspiratorial fuel price elasticity from the pre-conspiracy
period that is low, i.e., that is below the non-conspiratorial fuel price elasticity in the alleged
conspiracy period in which one wants to predict rail rates, leads to an underprediction of non-
conspiracy rail rates.




                                                    39
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 Figure 6: Using Period of Low Fuel Price Elasticity to Predict Rail Rates in Period with High Fuel
                Price Elasticity Yields Predicted Rail Rates below Actual Rail Rates




53.    In summary, despite Dr. Leitzinger’s defense of Professor Rausser’s model, the model
yields a nonsensical result when applied to the pre-Class Period: it implies that actual (non-
conspiracy) rail rates exceeded the rail rates that would have been in effect if the alleged
conspiracy had operated in the pre-Class Period. This nonsensical result arises from the same
mistake that Professor Rausser makes when estimating his damages model for the Class Period,
namely,                                                                                        an
assumption that is not supported by the data for the time period in which rail rates are predicted.
This nonsensical result is further confirmation that Professor Rausser’s model is fundamentally
flawed and unreliable.

       E.      D R . L EITZINGER ’ S B OX -C OX A NALYSIS F URTHER U NDERMINES
               P ROFESSOR R AUSSER ’ S D AMAGES M ODEL

54.    Dr. Leitzinger attempts to defend Professor Rausser’s




                                                 40
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                       Dr. Leitzinger ignores, however, that his Box-Cox model allows one to test
whether Professor Rausser’s log-log specification
                                                 72
                                                      As I explain below, the Box-Cox model rejects
Professor Rausser’s

55.     I also explain below that Dr. Leitzinger’s Box-Cox model generates fuel price elasticity
estimates that are highly suspect since they differ so dramatically from Dr. Leitzinger’s own fuel
shares. Dr. Leitzinger then erroneously alters the fuel price elasticity estimates produced by his
model. Both the Box-Cox fuel price elasticities and Dr. Leitzinger’s altered fuel price elasticities
are so flawed that they cannot be used in Professor Rausser’s damages model to produce a
reliable estimate of damages.

                1.       Dr. Leitzinger’s Box-Cox analysis rejects Professor Rausser’s


56.     Dr. Leitzinger uses an econometric technique, known as a Box-Cox model, as a
sensitivity analysis to evaluate whether Professor Rausser’s
elasticity is supported by the data.73 A Box-Cox model allows the data to determine the
functional specification of the equation being estimated, rather than imposing a particular
structure on the parameters such as the log-log specification
           that Professor Rausser uses for his cost equation. In the Box-Cox model, the
functional specification is determined by a parameter, λ (lambda), which the model estimates
from the data.74 As described by Dr. Leitzinger, “[t]his [Box-Cox] approach allows the model to
select the lambda that best fits the data. The special case where λ is estimated to be one yields a



71
        Leitzinger Report, ¶¶ 137-139.
72
        For simplicity, I henceforth will refer to this test as a test of
73
        Leitzinger Report, ¶ 137.
74
        In the Box-Cox model, all continuous variables (i.e., excluding product characteristics) are
        transformed as follows:
                                         1
                         λ     	           			        	λ   0
                                     λ
                                   log 						         	λ   0
        Dr. Leitzinger assumes that the same transformation and the same transformation parameter λ
        apply to all variables. (Leitzinger Report, n. 277.)

                                                               41
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standard linear form (no transformation). The special case where λ is estimated to be zero yields
the log transformation.”75

57.     Professor Rausser assumes
           but Dr. Leitzinger’s Box-Cox model can be used to test whether Professor Rausser’s
                       is consistent with the data.76




                     77
                          This means that the Box-Cox model rejects Professor Rausser’s


58.     Dr. Leitzinger opines in his Expert Report that “I see no basis from which to conclude
that
                                          were fundamentally flawed in their specification.”78 But
one need look no further than Dr. Leitzinger’s own Box-Cox analysis to find such a basis: Dr.
Leitzinger’s Box-Cox analysis demonstrates that Professor Rausser’s model,
                                       is not consistent with the data and is therefore unreliable.
Indeed, when asked in deposition whether his analysis rejected Professor Rausser’s
                                    , Dr. Leitzinger testified that his Box-Cox results “support[ ] some
movement in elasticity over time, that’s correct.”79

                2.        Dr. Leitzinger’s Box-Cox fuel price elasticities are unreliable and his
                          alteration of those elasticities is erroneous

59.     Dr. Leitzinger’s motivation in conducting his Box-Cox analysis was to estimate time-
varying fuel price elasticities that he could use in Professor Rausser’s damages model in order to
evaluate the claim that Professor Rausser’s damages were the product of

75
        Leitzinger Report, n. 277 [emphasis added].
76
        As described below, Dr. Leitzinger’s implementation of the Box-Cox model yields nonsensical
        fuel price elasticity estimates, which casts doubt on whether the results of the Box-Cox model are
        at all reliable.
77
        See Dr. Leitzinger’s backup materials, “Stage_One.log.”
78
        Leitzinger Report, ¶ 140.
79
        Leitzinger Deposition at 227:24-228:9.

                                                     42
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                        80
                             In his analysis, however, he does not use the time-varying elasticities
estimated in his Box-Cox model. Instead he alters those estimates in a way that reverses the
direction in which the estimated fuel price elasticities trend over time.81 Neither his Box-Cox
fuel price elasticities nor his altered fuel price elasticities are reliable.




60.     The blue line in Figure 7 illustrates the Box-Cox estimated fuel price elasticities, which
trend downward over time even though fuel prices were rising. This downward trend is contrary
to Dr. Leitzinger’s Report Fuel Shares and Deposition Fuel Shares that rise with increases in fuel
prices, and Dr. Leitzinger testified that fuel price elasticities that trend downward were




80
        Leitzinger Report, ¶ 137.
81
        The alteration he applies is wt = 2*µ - xt, where wt is the “altered” elasticity estimate in period t,
        xt is his original elasticity estimate in period t, and µ is the mean of x over time. (See Dr.
        Leitzinger’s backup materials, Stata program “Figure 3.do.”) This alteration preserves the mean
        of the estimated elasticities, but reverses the elasticities’ trend over time.

                                                      43
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unexpected.82 Given that the Box-Cox fuel price elasticities do not even trend in the direction
that the fuel shares indicate they must, they are not reliable.83

61.     In fact, Dr. Leitzinger did not use these Box-Cox fuel price elasticities in his analysis of
Professor Rausser’s damages regression—he did not even report them in his Expert Report.
Instead he applied a mathematical alteration to the elasticities that reversed the trend and resulted
in elasticities that increase over time. Dr. Leitzinger’s altered elasticities are shown in the red
line in Figure 7.84 He offered no explanation or justification for this alteration in his Expert


82
        Dr. Leitzinger testified that the downward trend was puzzling and that he read further about the
        Box-Cox transformation and learned about the data alteration he used:
           Q. Just so we’re clear, before you flipped it, the -- the slope of the elasticity line
           that you got from running the Box-Cox transformation, was the mirror image of
           what you reported in your report, correct?
           A. Correct.
           Q. Okay. So it appeared to show that as fuel prices were increasing the elasticity
           was decreasing?
           A. Correct.
           Q. Okay. And I take it you agree that that doesn't make sense in the context of
           this case?
           A. I don't know that I would go as far as to say it doesn't make sense, but I -- I -- I
           do know as we were working with this transformation when I first saw that result, I
           -- what you get without accounting for the inversion in the data, I scratched my
           head a little bit.
           Q. And so how did you learn, then, that you could flip it?
           A. Well, in -- in reading further about the use of the transformation which is often
           applied in situations where the particular pattern over time is -- is in some ways not
           that important, I came to discover that there is this consequence of the
           transformation in particular when for certain ranges of lambda and so -- and -- and
           that result was – is discussed in the literature surrounding the use of Box-Cox and
           transformations that are ways of accounting for that and undoing that inversion are
           discussed.
        (Leitzinger Deposition at 223:18-225:3.)
83
        I also note that the Box-Cox fuel price elasticities are smaller than estimates of the elasticities
        based on Dr. Leitzinger’s Report or Deposition Fuel Shares and
                                                 Dr. Leitzinger’s

                   Thus Dr. Leitzinger’s Box-Cox fuel price elasticities are less than half of his fuel cost
        elasticities, calculated based on his Report Fuel Shares.
84
        The altered elasticities are shown in Leitzinger Report, Figure 3.

                                                      44
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Report. In his deposition, he cited to one academic paper that he says justifies his alteration.85 I
have reviewed this paper and find no justification for Dr. Leitzinger’s alteration of his elasticities
(see Appendix B).86 Thus, Dr. Leitzinger erred in altering his Box-Cox elasticities and those
elasticities are unreliable as alternative fuel share elasticities to use in Professor Rausser’s
damages model.

        F.      D R . L EITZINGER ERRS IN SUGGESTING THAT P ROFESSOR R AUSSER ’ S
                FLAWED FUEL PRICE ELASTICITY IS SOMEHOW OFFSET BY THE MODEL ’ S
                FAILURE TO ACCOUNT FOR MARGIN COMPRESSION

62.     Dr. Leitzinger has proposed a new theory of “margin compression” concerning the pass-
through of fuel cost increases into higher rail rates.87 In particular, he argues that in the but-for
world, as fuel prices increased, Defendants would not have passed on the resulting variable cost
increases in full and instead would have earned lower margins.88 According to Dr. Leitzinger,
Professor Rausser’s model does not capture the effect of this margin compression and hence
overpredicts the but-for price, resulting in an underestimate of damages. Thus, according to Dr.
Leitzinger, Professor Rausser’s model is conservative in its damage estimate—that is, since
Professor Rausser’s model supposedly does not capture this margin compression, his damages
might still be reliable even                                                                      The only
evidence presented by Dr. Leitzinger in support of his margin compression theory is a showing
that Defendants’ price-cost margins declined during the Class Period.89, 90 Dr. Leitzinger



85
        Leitzinger Deposition at 453:7-454:3. The paper Dr. Leitzinger provided in support of his
        transformation is Jason W. Osborne (2010), “Improving your data transformations: Applying the
        Box-Cox transformation,” Practical Assessment, Research & Evaluation, 15(12):1-9.
86
        In Appendix B, I show that Dr. Leitzinger appears to have misinterpreted the one article that he
        cites as support and, as a result, erred in altering his Box-Cox elasticities. (Leitzinger Deposition,
        at 453:7-454:3.)
87
        I note that Professor Rausser does not discuss “margin compression” in any of his reports.
88
        Leitzinger Report, ¶¶ 120-124.
89
        Leitzinger Report, ¶ 120 and n. 260. See, also, Kalt Merits Report, ¶¶ 442-444. The decline of
        Defendants’ actual price-cost margins (as measured by the Lerner Index) during the Class Period
        compared to the average level in the pre-Class Period is at odds with the impact of the alleged
        conspiracy estimated by Professor Rausser and defended by Dr. Leitzinger. In other words, the
        goal of a price-fixing conspiracy would be to increase profits, and a decline in profit margins runs
        counter to the hypothesis that the alleged conspiracy was successful in raising rail rates, all else
        equal.

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presents no quantitative estimate of how much “uncaptured margin compression” exists in
Professor Rausser’s model nor does he present any quantitative estimate of the pass-through rate
or the price-cost margin that would have occurred in the but-for world that incorporates his
argument about margin compression.

63.     I note first that Dr. Leitzinger’s argument appears to suggest that even if Professor
Rausser’s damages model is mis-specified because of
            and thus produces inaccurate results, those results might still be reliable because the
model fails to account for uncaptured margin compression. That is, Dr. Leitzinger assumes that
maybe there are other errors in Professor Rausser’s model that could offset
                                  Specifically, Dr. Leitzinger ties his margin compression theory to
Professor Rausser’s model by claiming that one cannot analyze changes to the

                                                                 1
                                                                     It is illogical to argue that one
may not assess the reliability of Professor Rausser’s key assumption of a


                                                               Dr. Leitzinger’s argument is that even




90
        In deposition, Dr. Leitzinger also attempted to justify his theory of margin compression by
        claiming that the conspiracy had the effect of moving Defendants to the elastic portion of the
        demand curve, though he presents no such evidence. (Leitzinger Deposition at 360:12-361:21.)
        Even if Dr. Leitzinger’s contention that the railroads moved onto the elastic portion of the
        demand curve were true, his conclusion that this implies margin compression is not supported by
        economic theory. Economic theory teaches that the pass-through rate depends on several things,
        e.g., the curvature of the demand curve, the intensity of competition, the production technology
        (with constant returns to scale and competition, for example, the pass-through rate is one). And,
        in particular, economic theory teaches that the pass-through rate depends on not just the first
        derivative of demand (which is what the elasticity depends on) but also on the curvature of
        demand (which depends on the derivative of the elasticity). (Jeremy I. Bulow and Paul Pfleiderer
        (1983), “A Note on the Effect of Cost Changes on Prices,” Journal of Political Economy,
        91(1):182-185.) Dr. Leitzinger does not discuss the curvature of the demand curve, nor any other
        factor that affects pass-through, including how those factors may have changed during the Class
        Period.
91
        Leitzinger Report, ¶¶ 116-117. To be precise, the second assumption referred to by Dr.
        Leitzinger


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if Professor Rausser’s two assumptions92 are incorrect, they may somehow cancel each other out
so that Professor Rausser’s model is still reliable. But Dr. Leitzinger fails to show this.

64.     One piece of evidence regarding whether Professor Rausser’s two incorrect assumptions
taken as a whole still yields a reliable model is provided by the non-conspiratorial cost pass-
through implied by the model. As discussed previously, Professor Rausser’s model yields
implausibly low non-conspiratorial pass-through rates for the later years of the alleged
conspiracy. As shown in Table 6, only a fraction of fuel price increases are passed through to
rail rates in some years; for example, in 2007, for every $1 increase in fuel cost per ton mile,
only        is passed through to rail rates under the STB model. Thus Dr. Leitzinger’s claim—
that any error that Professor Rausser makes by                                                  may be
offset by his failure to account for margin compression—is completely refuted by showing that
Professor Rausser’s model makes implausible predictions of how rail rates should respond to
increases in costs.

65.     The rate of pass-through (the dollar amount by which a firm increases its price in
response to a $1 increase in its marginal cost) may, in theory, be equal to 1, less than 1, or greater
than 1, depending on a number of factors.93 Dr. Leitzinger does not acknowledge that pass-
through rates vary according to market conditions, but instead offers an example showing that a
hypothetical monopolist facing a linear demand curve would pass through only one-half of an
increase in its marginal cost.94 This example is not helpful in determining what a reasonable
pass-through rate would be in this matter because it is not based on any empirical analysis of the
Defendants or the railroad industry.95 The railroad industry (but-for any alleged conspiracy)



92




93
        These factors include the curvature of the demand function and the degree of competition. See n.
        90.
94                                                                   ∆
        More precisely, Dr. Leitzinger considers an example where            . (Leitzinger Report, ¶ 121
                                                                    ∆
        and Figure 1.)
95
        Dr. Leitzinger admitted in deposition that his example is not based on any empirical study of the
        railroad industry. (Leitzinger Deposition at 200:4-201:4.)

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would neither be a monopoly96 nor likely be characterized by a simple linear demand function.
Just as Dr. Leitzinger showed that a hypothetical monopolist facing a linear demand curve will
pass on one-half of its cost increases, one can show that economic theory predicts that a
monopolist facing an iso-elastic demand curve (i.e., a demand function characterized by constant
price elasticity) can have a pass-through rate greater than one.97 Dr. Leitzinger’s hypothetical
monopolist example is of no practical value in assessing whether the pass-through rates produced
by Professor Rausser’s model are reasonable.

66.      Dr. Leitzinger also claims that the pass-through rates allowed in Professor Rausser’s
model are reasonable because the railroads’ operating profit margins would still have been
positive during the Class Period even if Professor Rausser’s damages were removed from the
railroads’ revenues. 98 Dr. Leitzinger calculates that after subtracting the overcharges found by
Professor Rausser’s STB model, Defendants’ operating profit margin as a whole still would have
been “roughly        percent of their freight revenues.”99 It is not economically meaningful to ask
how Defendants’ operating profit for their entire business would have been affected by the lower
but-for rates for just the Class shipments. Defendants’ rail freight businesses include significant
traffic that is not part of the Class, including regulated traffic, traffic with no FSC, traffic with a
mileage-based FSC, and traffic under a legacy FSC.100 Dr. Leitzinger does not offer any
calculation of the profitability of only the Class traffic using the costs of serving only that traffic
and the but-for rates for that traffic implied by Professor Rausser’s STB damages model. Due to
limitations in the data, I do not attempt to correct Dr. Leitzinger’s calculation. But, Dr.
Leitzinger’s calculation is not informative on the question of whether Professor Rausser’s STB
damages model generates economically sensible levels of but-for profitability or fuel cost
recovery for the Class traffic. An unreasonably low but-for rate predicted by a damages model

96
         Here I refer to the rail freight industry as a whole, for purposes of general exposition. I am not
         suggesting that there is a single national market for rail freight nor do I exclude the possibility
         that a railroad may be a monopolist on certain routes for some commodities. Indeed, the
         economic forces certainly vary from one route/commodity pair to another.
97
         Jeremy I. Bulow and Paul Pfleiderer (1983), “A Note on the Effect of Cost Changes on Prices,”
         Journal of Political Economy, 91(1):182-185.
98
         Leitzinger Report, ¶¶ 188-89.
99
         Leitzinger Report, ¶ 189. This calculation uses the damages from Professor Rausser’s STB
         model. Dr. Leitzinger offers no calculation for the Class & Merits model.
100
         See n. 59 for the Class definition.

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does not become reasonable just because, for some reason, the firm could charge the low rate and
still make overall positive operating profits because of high profits in other parts of its
business. The mere observation that the enterprise as a whole would remain profitable at the but-
for prices—or even the observation that the line of business where damages are alleged to have
occurred would remain profitable—is not a test of whether the but-for pass-through rates allowed
by a damages model are reasonable.

IV.      DR. LEITZINGER PERFORMED NO TEST FOR FALSE POSITIVES BUT MY
         ANALYSIS SHOWS THERE ARE FALSE POSITIVES; DR. LEITZINGER’S
         CRITICISM OF PROFESSOR KALT’S FALSE POSITIVES IS UNJUSTIFIED
         AND, IN ONE CASE, IS ACTUALLY A CRITICISM OF PROFESSOR
         RAUSSER’S DAMAGES MODEL

67.      Under the assumption that a conspiracy to fix prices occurred, a reliable damages model
will find damages where the Plaintiffs’ theory of harm predicts damages should be found. A
reliable damages model must also find no damages where it is not plausible that damages should
be found under the Plaintiffs’ theory of harm. If a damages model finds damages where none
could plausibly have occurred, i.e., if the model generates “false positives,” this provides one
indication that the model is unreliable.101

68.      Notwithstanding the importance of testing for false positives, Dr. Leitzinger has not
offered any such test. He has not applied Professor Rausser’s model to any group of shipments
that should not have been affected by the alleged conspiracy and shown that the model does not
generate false positive damages for such shipments. In contrast, I have conducted such a test—
in particular, I test whether rail rates based on RCAF result in false positives—and I have also
reviewed Professor Kalt’s findings regarding false positives. My results confirm Professor
Kalt’s conclusion that Professor Rausser’s model generates false positives. The evidence of false
positives that I discuss here, together with the lack of findings to the contrary from either
Professor Rausser or Dr. Leitzinger, provides further confirmation that Professor Rausser’s
model is unreliable and should be rejected.




101
         Professor Kalt described how one way to test the reliability of a model is to check whether the
         model predicts effects that could not plausibly have occurred. (Declaration of Joseph P. Kalt,
         Ph.D., Errata Corrected May 6, 2014 (hereinafter, Kalt Remand Report), ¶ 5 and Section II.A.)

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69.      As a preliminary matter, I note that at least part of Plaintiffs’ Experts’ response to every
false positive test offered so far has been to argue that there is some reason to believe that there
could be true findings of injury under the tested conditions, so that the false positives provide an
invalid test of the reliability of the model. Professor Rausser and Dr. Leitzinger are therefore
making the claim that there is apparently no way to test the model for false positives in order to
validate the model’s reliability. Neither Professor Rausser nor Dr. Leitzinger has put forward
even one example in which the model correctly finds no damages for a group of shippers who
are likely not injured.

70.      This section is structured as follows. In Section IV.A, I provide a test of false positives
based on RCAF pricing. In Section IV.B, I show that Dr. Leitzinger’s and Professor Rausser’s
dismissal of false positives on legacy contracts based on claims that contracts can be renegotiated
or that the model captures stricter enforcement of FSCs are without merit. In Section IV.C, I
discuss how Dr. Leitzinger’s criticism of Professor Kalt’s false positives based on analysis of the
pre-Class Period is really a criticism of Professor Rausser’s damages model.

         A.      E VEN IF SHIPPERS HAD PAID RAIL RATES BASED ON RCAF, P ROFESSOR
                 R AUSSER ’ S MODEL STILL WOULD FIND DAMAGES

71.      In one of Professor Kalt’s false positive analyses, Professor Kalt finds that Professor
Rausser’s model would produce positive damages even if the railroads had charged rail rates
equal to their variable costs.102 Dr. Leitzinger responds that a finding of damages in such a
situation is not an unreasonable result because, in an oligopolistic (and non-conspiratorial)
environment, rail rates may rise by less than a railroad’s full increase in variable costs; thus it is
not inconsistent to find damages if a railroad raised rail rates by the full amount of its increase in
variable cost.103

72.      To address Dr. Leitzinger’s concern that Professor Kalt’s false positives based on
variable cost pricing allow too much pass-through of increased fuel costs, I have conducted
another test of the reliability of Professor Rausser’s model by determining whether the model
finds damages when rates are based on a non-conspiratorial price adjustment mechanism such as



102
         Kalt Remand Report, ¶¶ 61-64.
103
         Leitzinger Report, § VII.C.

                                                  50
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RCAF.104 Testing for false positives using rail rates adjusted by RCAF is appropriate for at least
two reasons. First, Plaintiffs have suggested in this proceeding that rate adjustments based on
RCAF had been used for decades and were not conspiratorial.105 Professor Rausser himself has
acknowledged that RCAF would have been used in the but-for world: 106

         In my benchmark period, I included all available transaction data, under my
         maintained hypothesis that those transactions traveled during a time free from
         collusion (except for perhaps the few months just prior to the start of the Class
         Period). During that period of time Defendants used a diverse and wide variety of
         fuel recovery mechanisms, including FSCs, but also including base rate increases
         and other cost escalation mechanisms, such as the RCAF. This provides ‘a good
         indication of what should have happened in the Class Period had the conspiracy
         not occurred.’

73.      Second, Dr. Leitzinger cites RCAF as an example of a pricing practice consistent with
less than full recovery of fuel costs.107 Thus my false positive test uses a cost escalation index
that (a) Plaintiffs claim was not tainted by the alleged conspiracy; (b) is what Plaintiffs and
Professor Rausser believe would have been used in place of FSCs in the but-for world; and (c)
does not allow for full recovery of increased fuel costs, which Dr. Leitzinger claims is
appropriate.

74.      My analysis begins with a non-conspiratorial base rate, such as the average rate for a
particular shipment of a commodity in one quarter prior to the Class Period. I increase that base

104
         RCAF (“Rail Cost Adjustment Factor”) is an index of rail costs. See n. 11.
105
         “The AII and RCAF both included a fuel cost component, and the Defendants had used these
         indices for decades to measure fuel-cost increases.” (Second Consolidated Amended Class
         Action Complaint, In re: Rail Freight Fuel Surcharge Antitrust Litigation, MDL Docket No.
         1869, Misc. No. 07-489 (PLF), December 31, 2009, ¶ 74.)
106
         Rausser Supplemental Class Reply Report, at 56 (citing Rausser Merits Report, at 166); see, also,
         Deposition of Dr. Gordon Rausser, September 24, 2010, at 126:18-127:2. (“Now, with regard to
         the but-for world, many of those who were paying the standardized fuel surcharges in the actual
         world would not be paying it in the but-for world. They would be paying some other form,
         perhaps the base rates would be responding to RCAF, and they would be paying it through the
         base rates.”); Deposition of Dr. Gordon Rausser, December 18, 2012, at 423:9-17 (“Q. I am
         asking the question as a conceptual matter. In the but-for world do you think the defendants
         would have fully recovered their fuel costs absent the conspiracy? A. In the but-for world? Q.
         Yeah. A. Using -- coming back to the RCAF, updating the RCAF on a frequent basis, yes, indeed
         they would have.”)
107
         Leitzinger Report, n. 260. (“Dr. Ordover similarly notes BNSF’s concern that prior to the Class
         Period ‘its historical pricing practices (for example, its use of RCAF [rail cost adjustment factor])
         were not allowing it to adequately recover its incremental fuel costs.’”)

                                                      51
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rate over time using the RCAF escalation index.108 Thus, starting from my base, I simulate a
series of rail rates in each quarter such that the change in the rail rate from quarter to quarter are
determined entirely by the cost increases captured in the RCAF index. Because no conspiratorial
actions can be attributed to rail rates generated in this way, a reliable model of damages should
not find overcharges if these simulated rates had been charged to shippers.

75.      In my analysis, I use the last calendar quarter prior to the start of the Class Period
(2003Q2) as the base period. Figure 8 below shows the pattern of simulated rail rates using the
RCAF-U index (blue line) and the non-conspiratorial rail rates arising from Professor Rausser’s
damages models estimated using the simulated rates (red lines). The average rail rates based on
RCAF-U always exceed those but-for rail rates. This means that Professor Rausser’s model will
find damages if a railroad had charged rates during the Class Period that were escalated using
only non-conspiratorial RCAF.109




108
         There are two RCAF indexes: RCAF-U, which is not adjusted for productivity and RCAF-A,
         which is adjusted for productivity. (Association of American Railroads, “AAR Railroad Cost
         Indexes,” June 2013 at 20.) I use both indexes in my analysis.
109
         In the backup materials, I redo Figure 8 where I use Professor Rausser’s predicted but-for prices
         based on his estimated coefficients (not the ones based on RCAF data) to construct the bottom
         two red lines. The conclusions discussed in the text are unchanged.

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76.      Indeed Professor Rausser’s model finds damages when it should not. Table 7 shows the
overcharge estimates derived from Professor Rausser’s model when rail rates are based on either
the RCAF-U index, the RCAF-A index, or the average of the two indices.110 In all of these
cases, Professor Rausser’s model finds that shippers were damaged, even though, by
construction, the rail rates were non-conspiratorial.




110
         The measure of non-fuel costs that Professor Rausser uses in his model (AIILF) relies on the
         same all-inclusive index (AII) that is used to construct RCAF-U. RCAF-U is then adjusted for
         productivity to generate RCAF-A. (Association of American Railroads, “AAR Railroad Cost
         Indexes,” June 2013 at 2, 20, and Tables G through M.)

                                                   53
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         B.      D R . L EITZINGER ’ S
                                  CRITICISM OF P ROFESSOR K ALT ’ S ANALYSIS OF
                 FALSE POSITIVES BASED ON LEGACY SHIPMENTS WITH RATE - BASED
                 FSC S IS UNFOUNDED

77.      Professor Kalt demonstrates that Professor Rausser’s STB model generates damages
when applied to shipments during the Class Period with an FSC that was adopted prior to the
start of the alleged conspiracy—so-called “legacy shipments.”111 Professor Kalt’s finding of
false positives on legacy shipments still holds when he limits the analysis to shipments where the
earning power of the FSC formula did not increase (and may have decreased) during the Class
Period.112

78.      In response to this false positive analysis, Professor Rausser and Dr. Leitzinger claim that
although shipments subject to contracts containing FSCs signed prior to the start of the alleged
conspiracy are not part of the Class, they cannot serve as a “clean” group113 to test for false
positives because all legacy shippers were harmed by the alleged conspiracy.114 According to
their theory, these legacy shippers were harmed because, in the absence of the alleged
conspiracy, these shippers would have been able to renegotiate their contracts (or obtained
waivers or other concessions) in order to pay lower rates.115 Thus, Professor Rausser and Dr.
Leitzinger claim, even though legacy shippers signed contracts with FSCs prior to the alleged

111
         Kalt Remand Report, § II.C.
112
         Kalt Remand Report, ¶¶ 36-38 and Figure 2.
113
         A “clean” group would be a set of shipments that was not affected by the alleged conspiracy.
114
         Leitzinger Report, ¶¶ 154-155; Rausser Supplemental Class Reply Report at 75-76.
115
         Id.

                                                    54
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conspiracy, the alleged conspiracy prevented them from obtaining lower rates in the face of
higher fuel prices.

79.      Professor Rausser’s and Dr. Leitzinger’s argument that legacy shippers with FSCs would
simply have renegotiated their contracts appears to be equivalent to an argument that contracts
are meaningless. Their theory appears to be that if contracted rail rates exceed spot rail rates,
shippers would renegotiate to lower their contracted rates to those spot rates.116 Professor
Rausser and Dr. Leitzinger have not suggested any reason to think that the ability to renegotiate
contracts is asymmetric, however. This means that under their theory railroads would also
renegotiate contracts with shippers whenever contracted rates are less than spot rates or
whenever contracts not incorporating FSCs are priced lower than contracts with FSCs. In
Professor Rausser’s and Dr. Leitzinger’s world, deviations of contracted rail rates from spot rail
rates or deviations of contracted rates incorporating an FSC from contracted rates without an
FSC should always prompt a renegotiation. This implies, of course, that spot rates and
contracted rates should always be equal,117 and that rates on contracts with an FSC should equal
rates on contracts without an FSC.118

80.      In fact, we observe different rates in contracts with and without FSCs. Although Dr.
Leitzinger notes these differences, he ignores the implications of the differences. He observes
that “prior to the Class Period, all-in rates that included FSCs were generally higher (all else
equal) than all-in rates that did not include FSCs.”119 He fails to see that if such differentials
existed in the pre-Class Period when no conspiracy is alleged, there is no economic reason to
116
         Dr. Leitzinger testified that there is a large economic literature on parties to a contract
         renegotiating the terms of their agreement. (Leitzinger Deposition at 398:16-399:16.) But he
         ignores the point in that literature that a voluntary renegotiation would occur only in those
         instances in which it is in each party’s interests to renegotiate. He provides no evidence that,
         when a shipper’s contract rates increased as a result of increases in fuel prices, it would have been
         in the railroad’s interest to renegotiate the contract rates down to the spot rate.
117
         The literature indicates that contracts can lead to persistent differences between spot prices and
         contracted prices. See, e.g., R. Glenn Hubbard (1986), “Supply Shocks and Price Adjustment in
         the World Oil Market,” Quarterly Journal of Economics, 101(1):85-102. (“Price rigidity is not
         limited to industrial product markets; certain commodity markets exhibit multiple prices because
         of contract rigidities, with petroleum being the best known example.”)
118
         At the very least, as long as contracts have any meaning (so that renegotiation is not automatic),
         one would expect damages to legacy shippers to be smaller than damages to others, but under
         Professor Rausser’s analysis, they are not. (See Kalt Remand Report, ¶ 35 and Figure 1.)
119
         Leitzinger Report, ¶ 150.

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believe that such differentials would have disappeared during the Class Period as his and
Professor Rausser’s theory of renegotiation suggests.

81.      I have conducted a regression analysis to test the hypothesis that spot rates and contract
rates are equal, and I find that they are not.120 Instead, I find that rates paid under contracts are
approximately        percent lower than rates paid where no contract is in force.121 What this rate
differential shows is that contracts in the rail industry are important in determining rates and
cannot be assumed to be non-binding or easily renegotiated when they work to the disadvantage
of one party. Put simply, the empirical evidence rejects the notion that contract renegotiations of
the kind hypothesized by Professor Rausser and Dr. Leitzinger eliminate price differences
between contract and spot rates. Therefore, their criticism of Professor Kalt’s false positive
analysis of legacy shipments is unjustified.

82.      Dr. Leitzinger also claims that damages for shipments under pre-existing legacy contracts
are not false positives because Professor Rausser’s damages model might be reflecting the
alleged stricter enforcement of FSCs achieved by the alleged conspiracy.122 In other words, Dr.
Leitzinger is suggesting that the conspiracy affected the rate of FSC coverage. There are several
flaws in this argument. First, Professor Rausser’s damages model is not a model of coverage,
that is, he does not model the likelihood that a particular shipment will be covered by an FSC.
Rather than attempt to model coverage in the but-for world, Professor Rausser limits the Class
Period sample to shipments with a rate-based FSC while including all shipments (with and
without a rate-based FSC) in the pre-Class Period. Shipments without a rate-based FSC during
the Class Period are not studied or explained: they are simply not part of the model. This is a

120
         In conducting this test, I used data provided by Defendant UP and concentrate on the pre-Class
         Period from January 2000 to June 2003. I use only UP’s data because, in contrast to the other
         railroads’ data, the UP transaction data allows me to identify which shipments were billed using a
         contracted rate and which shipments were billed using a spot price. (Kalt Merits Report, ¶¶ 148-
         150.)
         In my analysis, I regressed log rail rate per ton-mile on all of the explanatory variables present in
         Professor Rausser’s Class & Merits Model, excluding the variables measuring the impact of the
         alleged conspiracy. (See Rausser Merits Report at 170, Table 53.) I also included as a regressor
         a dummy variable indicating whether the shipment was billed using a spot price or a contracted
         price. The coefficient estimate for the dummy variable provides evidence on the difference in
         rates for the contract.
121
         The estimated effect is statistically significant.
122
         Leitzinger Report, ¶¶ 157-158.

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methodological flaw because Professor Rausser effectively assumes that the conspiracy
successfully elevated coverage to 100 percent, which is inconsistent with the facts. Second,
neither Dr. Leitzinger nor Professor Rausser has studied the elevation in coverage that would
have occurred in the but-for world, nor proposed a model that would identify the Class members
that would not have paid an FSC in the but-for world. In my Merits Report, I conducted such an
analysis using data for UP and showed that coverage during the Class Period did not increase,
relative to the trend from the pre-Class Period.123 In short, neither Professor Rausser nor Dr.
Leitzinger performed an analysis of enforcement or coverage, and Dr. Leitzinger’s assertion that
the false positive results from Professor Rausser’s model can be explained away by stricter
enforcement is unfounded.

         C.      D R . L EITZINGER ’ S
                                   CRITICISM OF P ROFESSOR K ALT ’ S ANALYSIS OF
                 FALSE POSITIVES DURING THE PRE - CLASS PERIOD IS IN FACT A
                 CRITICISM OF P ROFESSOR R AUSSER ’ S DAMAGES MODEL

83.      Professor Kalt showed that Professor Rausser’s model finds damages in a test limited to
only pre-Class Period data.124 Professor Kalt performs his test for false positives by splitting the
pre-Class Period into a hypothetical benchmark period and a hypothetical Class Period.
Following Professor Rausser’s methodology, he restricts the hypothetical Class Period data to
include only shippers with FSCs. He then follows Professor Rausser’s methodology and finds
damages for all the dates he tests. Because all of the shipments analyzed occurred in the pre-
Class Period and their associated rates are therefore non-conspiratorial, there is clearly a flaw in
Professor Rausser’s model that causes it to find damages where none should exist.

84.      Dr. Leitzinger criticizes Professor Kalt’s test by claiming there is nothing surprising
about this result. He argues that since Professor Kalt limits his hypothetical Class Period to
include only shippers with FSCs, while his hypothetical benchmark period includes all shippers,
it would make sense to find damages “inasmuch as FSCs played an important role in pricing.”125
However, Professor Kalt has simply constructed his test to mimic Professor Rausser’s definition




123
         Carlton Merits Report, ¶¶ 85-102.
124
         Kalt Remand Report, ¶¶ 41-43 and Figure 5.
125
         Leitzinger Report, ¶ 149.

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of the pre-Class Period and Class Period shippers.126 Thus, the finding of false positives is a
further confirmation of the unreliability of Professor Rausser’s methodology.

85.      The key observation is that Dr. Leitzinger’s criticism of Professor Kalt is in fact a
criticism of Professor Rausser. To the extent that Dr. Leitzinger’s criticism has merit, it applies
to Professor Rausser’s model. That is, according to Dr. Leitzinger, one would expect contracts
with FSCs to pay higher rates than contracts without FSCs, even in a non-conspiratorial period.
This means that, by comparing Class Period shipments with an FSC to pre-Class Period
shipments with and without an FSC, Professor Rausser’s model will generate damages even in
the absence of the alleged conspiracy. Professor Kalt has made this point,127 and Dr. Leitzinger’s
conclusions agree with Professor Kalt’s. By concluding that, because FSC contracts are different
than non-FSC contracts, it is improper to mix them together in a benchmark, non-conspiratorial
period (which is exactly what Professor Rausser does in his model), Dr. Leitzinger clearly states
yet another reason why Professor Rausser’s model is unreliable.

V.       DR. LEITZINGER HAS NOT TESTED WHETHER PROFESSOR RAUSSER’S
         MODEL FINDS COMMON IMPACT ACROSS SHIPPERS; IT DOES NOT

86.      Dr. Leitzinger has suggested that Professor Rausser’s model “also can be used to explore
statistically whether (and to what extent) the overcharges vary in some systematic, theoretically
plausible manner based upon other shipper characteristics such as type of shipment, distance, or
railroad.”128 One way to analyze whether overcharge estimates differ across shippers is to
include in Professor Rausser’s model a separate estimate of damages for each shipper and
thereby allow Professor Rausser’s damage estimate to vary by shipper. If Professor Rausser and
Dr. Leitzinger are correct that the model provides reliable proof of common impact across Class
shippers, one would expect such a model to find that individual shippers are universally
impacted, i.e., all suffer damages.




126
         Kalt Remand Report, n. 65.
127
         Kalt Merits Report, ¶¶ 529-536.
128
         Leitzinger Report, ¶ 185.

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87.      I have done such an analysis by estimating Professor Rausser’s damages model for the
200 largest shippers found in the Class Period data,129 allowing for the conspiracy effects to
differ across shippers, and I find that shippers accounting for a substantial portion of Class
shipments were not damaged. Of the 200 largest shippers in my analysis,                 shippers are
estimated to have negative damages for the Class Period as a whole, and, of these                shippers,
shippers         percent of the total) have statistically significant negative damages.130 In other
words, Professor Rausser’s model shows tha                 percent of the top 200 shippers benefitted
from the alleged conspiracy by a statistically significant amount, even though they are members
of the Class.131 These       shippers collectively account for                   in Class revenues (see
Appendix C).

88.      The fact that Professor Rausser’s model, when modified to allow separate damage
estimates by shipper, finds tha           percent of the top 200 shippers were benefitted from the
alleged conspiracy by a statistically significant amount is striking given that Professor Rausser’s
specification biases him to find damages simply as a
                        . I have already explained that this incorrect assumption causes him to
overestimate damages from the alleged conspiracy. Yet, even with this incorrect assumption,
this modified model finds that           percent of shippers benefitted (i.e., have negative damages)
as a result of the alleged conspiracy. If I correct his assumptions about the
                non-fuel cost elasticity as I describe in Section III.C above, I find a large
percentage of uninjured shippers. As shown in Table 8, when I allow the fuel price and non-fuel

129
         The shippers used in my analysis account for    billion in shipment revenue, which is
         approximately    percent of the Class revenues.
130
         I follow Professor Rausser’s overcharge methodology

                                        Using Professor Rausser’s methodology, the average overcharge
         could be negative even though there are some weeks where the overcharge percentage is positive.
         The test for statistical significance is based on the variance of the cartel effect estimated as
                  	 	 ∗               where           is the average log HDF fuel price during the Class
         Period. It is not possible to claim that such findings are due to small data samples or are
         “statistical anomalies.” (See Leitzinger Report, ¶¶ 176-177.) My results are not a result of
         random statistical error. The regression uses millions of observations and even the smallest
         shipper with negative damages had                   in class shipments (see Appendix C).
131
         I am not suggesting that such shippers were, in fact, benefitted by any alleged conspiracy.
         Rather, the point is that Professor Rausser’s damages model is not a reliable means for proving
         common injury to all or nearly all class members.

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cost elasticities to vary, the percentage of benefitted shippers rises to between    percent (when
a separate AIILF coefficient is estimated for each year) and       percent (when AIILF varies and
is equal one (1) minus the fuel elasticity in each year).




89.    Again, I do not claim that my corrections to Professor Rausser’s treatment of elasticities
fix all of the problems in his model or make it suitable for use as a model of aggregate damages,
much less as a model of damages to all class members. Instead, the finding that these corrections
result in over half of shippers being benefitted from the alleged conspiracy is further
confirmation that Professor Rausser’s model, even with more accurate assumptions on
elasticities, is unreliable for measuring alleged conspiratorial damages.




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APPENDIX A: RELATIONSHIP OF PROFESSOR RAUSSER’S FUEL PRICE
ELASTICITY TO RAILROADS’ FUEL SHARE




92.      The first term on the right hand side is the fuel share calculated by Dr. Leitzinger, i.e., the
ratio of the cost of the railroad’s fuel consumption (evaluated at the HDF fuel price) to the
railroad’s total variable cost (evaluated at the railroad’s price per gallon of fuel). The second
term on the right hand side is the derivative of the railroad’s price per gallon of fuel with respect
to the HDF fuel price.

93.      If the fuel price that the railroad faces is identical to the HDF fuel price, then Professor
Rausser’s fuel price elasticity is just the fuel share:

                                        	




133
         Hal Varian (1992), Microeconomic Analysis, W.W. Norton & Company, at 74.

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where TVC* is the total variable cost evaluated using the HDF fuel price. This fuel share can be
calculated from available data.

94.    Alternatively, suppose that the fuel price that the railroad faces, Pf, is something other

than the HDF fuel price. Assuming that 	              1	, the required fuel price elasticity is just the

fuel share:
                                          ∗
                                      	                                (7)

where TVC is evaluated using Pf, the price per gallon of fuel that the railroad faces. If

deviates from 1, then the required fuel price elasticity is given by equation (5) above.




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APPENDIX B: DR. LEITZINGER’S ALTERATION OF THE BOX-COX
ELASTICITIES IS ERRONEOUS AND IS NOT SUPPORTED BY THE ACADEMIC
LITERATURE

95.      In Section III.E.2, I described how the fuel price elasticities estimated from Dr.
Leitzinger’s Box-Cox methodology follow a nonsensical pattern, i.e., they trend downward
during the Class Period (when fuel prices were rising) while Dr. Leitzinger’s own fuel shares
trend upward during that same period. Before using these fuel price elasticities in Professor
Rausser’s damages model, Dr. Leitzinger altered them so that they trend upward. Although he
did not provide any explanation or theoretical support for his alteration of the elasticities in his
Expert Report,134 at deposition, Dr. Leitzinger provided one academic paper, Osborne (2010),
that he says justifies his alteration of the data.135 I explain in this Appendix why Dr. Leitzinger’s
alteration is erroneous and rejected by the literature.

96.      In deposition, Dr. Leitzinger’s testified that the Box-Cox transformation inverts the
ordering of the values of a variable if the estimated lambda is less than zero, as is the case in his
Box-Cox estimation of Professor Rausser’s cost equation where lambda is estimated as -0.21.136
Because of this, he testified that he altered the elasticities estimated by the Box-Cox model in
order to “undo” the effect of the Box-Cox transformation.137 For the proposition that Box-Cox
inverts the ordering of the values of a variable when lambda is less than zero, Dr. Leitzinger
relies on the Osborne paper which states: “any λ less than 0.00 has the effect of reversing the

134
         In his Expert Report, Dr. Leitzinger reported only the altered elasticities (Leitzinger Report,
         Figure 3) and did not indicate that he had altered the elasticities that his Box-Cox model
         produced, nor did he provide any justification for such an alteration. However, the alteration can
         be discovered by examining his computer program contained among his workpapers. (Leitzinger
         Report backup, Stata program “Figure 3.do.”)
135
         Leitzinger Deposition at 453:7-454:3. The paper Dr. Leitzinger provided in support of the
         transformation is Jason W. Osborne (2010), “Improving your data transformations: Applying the
         Box-Cox transformation,” Practical Assessment, Research & Evaluation, 15(12): 1-9. Dr.
         Leitzinger testified that this was the only article he had identified that related to his alteration of
         his Box-Cox elasticities. (Leitzinger Deposition at 500:12-13.)
136
         Dr. Leitzinger testified as follows: “And that's because when -- when Box-Cox determines that
         lambda is between zero and one [sic], it has the property of flipping the ordering in the variables
         and -- and so you -- when you literally plot out that formula, you get something that would look
         like the inverse picture of that. And so what Figure 3 is, is what happens if you undo that
         inversion that is inherent in the -- in the Box-Cox estimation and is one of the things that the --
         you see in the literature about the use of Box-Cox.” (Leitzinger Deposition at 221:24-222:10.)
137
         Leitzinger Deposition at 224:16-225:3.

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order of the data.”138 Dr. Leitzinger appears to have misinterpreted the author’s statement. If a
simple power transformation is used to transform a positive variable, y, that is                   , and if
the value of lambda is less than zero, then the transformation inverts the order of the variable.139
But the Box-Cox transformation is not a simple power transformation. Instead, the Box-Cox

transformation is:	                .140 In the Box-Cox transformation, lambda appears in the

denominator of the transformed variable, which has the effect of preserving the order of the
original variable when lambda is negative.

97.      The mathematical proof is as follows. Consider a mathematical transformation, B(y), of
a positive variable, y. The transformation B(y) preserves order if when             	   	   , it is also the

case that         	   	        . Suppose that B(y) is the Box-Cox transformation:	B y                  . To

show that the Box-Cox transformation preserves order when lambda is negative, I must show
that                      if   	   	   and       0.

98.      Applying the Box-Cox transformation to y1 and y2:

                                          B y               		 	   1 	


                                          B y               		 	   2 	

Then, I must show that:

                                          B y         	B y 	       3 	

Or, equivalently:

                                                	 	     	     	    4 	

Multiplying both sides by , which is negative, yields:

                                          y      	y 	         	    5 	

138
         Jason W. Osborne (2010), “Improving your data transformations: Applying the Box-Cox
         transformation,” Practical Assessment, Research & Evaluation, 15(12): 1-9 at 6.
139
         For example, if λ=-1, then 10 exceed 9 but 1/10 (10-1) is less than 1/9 (9-1) so the power
         transformation inverts the order of the variable.
140
         See Leitzinger Report, n. 277.

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Applying the natural logarithm (which is an order-preserving function141) to both sides of this
equation:

                                   	λlog	 y     	λlog	 y 		         6 	

Dividing both sides by     , which is negative:

                                   log	 y     	log	 y 		 	          7 	

Because the natural logarithm is order-preserving,142 equation (7) implies that        	   	   . Thus,
even when      is negative, the Box-Cox transformation preserves the order of the values of a
variable.143

99.      Dr. Leitzinger could have discovered his error if he had examined his data after
transforming it using the Box-Cox transformation with a lambda equal to -0.21. I have examined
the original and transformed data for Dr. Leitzinger’s dependent variable (variable cost) and the
HDF price series. In Figure A-1, the untransformed HDF price series is shown by the blue line
and the transformed HDF price series (with lambda = -0.21) is shown by the red line. It is clear
that the Box-Cox transformation does not change the order of the original variable: the order of
any two points on the blue line is the same as the order of the same two points on the red line.
Similarly, Figure A-2 shows that Dr. Leitzinger’s Box-Cox transformation (with lambda = -0.21)
does not alter the order of the variable cost (per ton-mile) variable.




141
         See, e.g., Takeshi Amemiya (1994), Introduction to Statistics and Econometrics, Harvard
         University Press, at 134.
142
         Id.
143
         See Peter J. Bickel and Kjell A. Doksum (1981), “An Analysis of Transformations Revisited,”
         Journal of the American Statistical Association 76(374): 296-311, at 296-297, describing the
         Box-Cox function as a “strictly monotone increasing transformation.”

                                                   66
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100.     In summary, Dr. Leitzinger has altered his Box-Cox fuel price elasticities because he
claims that the Box-Cox transformation flips the order in the variables.144 His claim is incorrect.
Therefore, there is no justification for his alteration.




144
         Leitzinger Deposition at 221:24-222:10.

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APPENDIX C: SHIPPERS (AMONG TOP 200 SHIPPERS) IDENTIFIED BY
PROFESSOR RASUSER’S DAMAGES MODEL AS BENEFITTING FROM THE
ALLEGED CONSPIRACY

   Shipper Name                                         Class Revenue      Undercharge            T-Stat




   Note: Analysis was performed on 200 shippers with a total of                in Class revenue. The top
   200 shippers were chosen based on Class revenue. Shippers with less than 100 observations in
   either the benchmark period or Class Period were excluded from the analysis.
                              was excluded because insufficient data precluded estimation of a
   conspiracy effect.
                                        T-statistic in excess of 2 in absolute value indicates
   significance at the 5 percent level.




                                                     69
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                              Exhibit 1


                     Curriculum Vitae and
Testifying Experience of Dennis W. Carlton (July 2011-July 2015)
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DENNIS WILLIAM CARLTON                                                              July 2015
Senior Managing Director

Business Address:         Compass Lexecon                     (312) 322-0215
                          332 South Michigan Avenue
                          Chicago, Illinois 60604

Email Address:             dcarlton@compasslexecon.com

                                         EDUCATION

Ph.D., MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Cambridge, Massachusetts: Economics,
     1975.

M.S., MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Cambridge, Massachusetts: Operations
     Research, 1974.

A.B., HARVARD UNIVERSITY (Summa cum laude): Applied Math and Economics, 1972.

                                         EMPLOYMENT

COMPASS LEXECON (formerly Lexecon), Chicago, Illinois (2008 – present) Senior Managing
   Director; LEXECON INC., (1977 – 2006), President 1997 – 2001, Senior Managing Director
   2003 - 2006

UNIVERSITY OF CHICAGO, Booth School of Business, David McDaniel Keller Professor of
    Economics (2011 – present); Katherine Dusak Miller Professor of Economics (2008 – 2011);
    Professor of Economics (1984 – 2008); Law School, Professor of Economics (1980 – 1984);
    Department of Economics, Assistant Professor (1976 – 1979); Associate Professor (1979).

U.S. DEPARTMENT OF JUSTICE, Washington, District of Columbia (2006 – 2008) Deputy Assistant
     Attorney General for Economic Analysis, Antitrust Division

MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Cambridge, Massachusetts, Department of
   Economics (1975 – 1976) Instructor in Economics

                            OTHER PROFESSIONAL EXPERIENCE

HARVARD UNIVERSITY, Public Policy Summer Course in Economics (1977), Professor

BELL TELEPHONE LABORATORIES (Summers 1976, 1977)

JOINT CENTER FOR URBAN STUDIES OF M.I.T. AND HARVARD UNIVERSITY, Cambridge,
    Massachusetts (1974 - 1975)

CHARLES RIVER ASSOCIATES, Cambridge, Massachusetts (Summers 1971, 1972) Research
   Assistant

                                 FIELDS OF SPECIALIZATION

Theoretical and Applied Microeconomics
Industrial Organization
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                             ACADEMIC HONORS AND FELLOWSHIPS

Keynote Address, International Industrial Organization Conference, 2014
The 2014 Distinguished Fellow, Industrial Organization Society
Award for Best Antitrust Economist, Global Competition Review, 2014
Keynote Address, Sixth Annual Federal Trade Commission Microeconomics Conference, 2013
Heath Memorial Lecture, University of Florida, 2013
Award (w. Mark Israel) for Best Antitrust Analysis in Litigated Cases, Global Competition Review,
      2013
Keynote Address, 21st Annual Workshop of the Competition Law & Policy Institute of New Zealand,
      2010
Keynote Address, Japanese Symposium on Competition, sponsored by Japan Fair Trade
      Commission, 2009
Recipient of Inaugural Robert F. Lanzilotti Prize, awarded by the Industrial Organization Society for
      Best Paper in Antitrust Economics, 2008
Keynote Address to Israel Antitrust Conference, 2008
Lewis Bernstein Memorial Antitrust Lecture, Washington, D.C., 2006
Distinguished Visitor, University of Melbourne, April 2005
Milton Handler Lecture, New York, 2004
Keynote Address to the International Competition Network, Mexico, 2004
Alexander Brody Distinguished Lecture, Yeshiva University, 2000
Ph.D. Thesis chosen to appear in the Garland Series of Outstanding Dissertations in Economics
Recipient of the 1977 P.W.S. Andrews Memorial Prize Essay, best essay in the field of Industrial
      Organization by a scholar under the age of thirty
National Science Foundation Grant, 1977 - 1985
Recipient of Post-doctoral Grant from the Lincoln Foundation, 1975
National Science Foundation Fellowship, 1972 - 1975
Phi Beta Kappa, 1971
John Harvard Award, 1970
Detur Book Prize, 1969
Edwards Whitacker Award, 1969
M.I.T., National Scholar Award, 1968

                         PROFESSIONAL AFFILIATIONS AND ACTIVITIES

Appointed Member of the ABA Transition Task Force, Antitrust and Consumer Protection, 2012
Advisory panel to the Department of Justice and the FTC on the merger guidelines, 2010
Co-editor, Journal of Law and Economics, 1980 - present
Visiting Committee, MIT, Department of Economics, 1995 - 2011
Member, Advisory Board, Economics Research Network, 1996 - present
Member, Advisory Board of Antitrust and Regulation Abstracts, Social Science Research Network,
       1998 - present
Advisory Board, Massachusetts Institute of Technology, Department of Economics, 1999 - present
Editorial Board, Competition Policy International (CPI), 2010 – present, Co-Editor, Competition Policy
       International (CPI), 2004 – 2009
Member, Economic Task Force – Antitrust Division, American Bar Association, 2010 – present
Advisory Board, Journal of Competition Law and Economics, 2004- present
Adjunct Scholar, American Enterprise Institute for Public Policy Research, 2007 – present
Deputy Assistant Attorney General for Economic Analysis, Antitrust Division, U.S. Department of
       Justice, 2006 - 2008
Presidential Appointment to the Antitrust Modernization Commission, 2004 – 2007




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Invited Panelist at Public Hearing on the Retail Banking Sector Inquiry: Payment Cards, before the
      European Commission in Brussels, Belgium, July 17, 2006.
Consultant on Merger Guidelines to the FTC, 2003
Professor, George Mason Institute for Judges, October 2001
Chairman, FTC Round Table on Empirical Industrial Organization (September 11, 2001)
Participant in the Round Table on the Economics of Mergers Between Large ILECS before the
      Federal Communications Commission, February 5, 1999
Member, Steering Committee, Social Science Research Council, Program in Applied Economics,
      1997 - 1999
Participant in roundtable discussions on "The Role of Classical Market Power in Joint Venture
      Analysis," before the Federal Trade Commission, November 19, 1997 and March 17, 1998.
Participant in meetings with Committee of the Federal Reserve on Payment Systems, June 5, 1997
Associate Editor, Regional Science and Urban Economics, 1987 - 1997
Resident Scholar, Board of Governors of the Federal Reserve System, Summer, 1995
Accreditation Committee, Graduate School of Business, Stanford University, 1995
Associate Editor, The International Journal of Industrial Organization, 1991 - 1995
Editorial Board, Intellectual Property Fraud Reporter, 1990 - 1995
Consultant on Merger Guidelines to the U.S. Department of Justice, 1991 - 1992
Member, Advisory Committee to the Bureau of the Census, 1987 - 1990
National Bureau of Economic Research, Research Associate
Member, American Economics Association, Econometrics Society

                                              BOOKS

Market Behavior Under Uncertainty, Ph.D. Thesis, Massachusetts Institute of Technology (September
    1975); Garland Publishing (1984).

Modern Industrial Organization, Scott, Foresman & Co., co-authored with Jeffrey Perloff, first edition
    (1990), (Chapter 17 of first edition reprinted as “The Economics of Information” for the University
    of Connecticut, Food Marketing Policy Center (1989)), second edition (1994), translated into
    Chinese, French, Hungarian and Italian; Addison Wesley Longman, third edition (2000), fourth
    edition (2005), translated into Chinese (2009).

                                      RESEARCH PAPERS

"The Equilibrium Analysis of Alternative Housing Allowance Payments," (with Joseph Ferreira)
     Chapter 6 of Analysis of a Direct Housing Allowance Program, The Joint Center for Urban
     Studies of M.I.T. and Harvard University, (July 1975).

"Theories of Vertical Integration," presented at Fourth Annual Telecommunications Conference.
     Appears in a volume of Proceedings of the Fourth Annual Telecommunications Conference,
     Office of Telecommunications Policy, (April 1976).

"Uncertainty, Production Lags, and Pricing," American Economic Review, (February 1977).

"Selecting Subsidy Strategies for Housing Allowance Programs," (with Joseph Ferreira) Journal of
     Urban Economics, (July 1977).

"Peak Load Pricing With Stochastic Demand," American Economic Review, (December 1977).
     (Reprinted in Economic Regulation edited by P.L. Joskow, Edward Elgar Publishing Limited,
     1998 and Reprinted in The Economics of Public Utilities edited by Ray Rees, Professor of
     Economics at the University of Munich, Germany, 2005.)


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"The Distribution of Permanent Income," Income Distribution and Economic Inequality, edited by Zvi
     Griliches, et al. (Halsted Press, 1978).

"Vertical Integration--An Overview," in Congressional Record Hearings on the Communications Act of
      1978. Bill H.R. 13105, (August 3, 1978).

"Market Behavior with Demand Uncertainty and Price Inflexibility," American Economic Review,
     (September 1978).

"Vertical Integration in Competitive Markets Under Uncertainty," Journal of Industrial Economics,
      (March 1979). Awarded the P.W.S. Memorial Prize for the best essay in the field of Industrial
      Organization by a scholar under the age of thirty.

"Valuing Market Benefits and Costs in Related Output and Input Markets," American Economic
     Review, (September 1979).

"Contracts, Price Rigidity and Market Equilibrium," Journal of Political Economy, (October 1979).

"Why New Firms Locate Where They Do: An Econometric Model," in Studies in Regional Economics,
    edited by W. Wheaton, (Urban Institute, 1980).

"Benefits and Costs of Airline Mergers: A Case Study," (with W. Landes and R. Posner) Bell Journal
     of Economics, (Spring 1980). (Reprinted in "Air Transport" in Classics In Transport Analysis
     series, edited by Kenneth Button and Peter Nijkamp, 2001.)

"The Limitations of Pigouvian Taxes as a Long Run Remedy for Externalities," (with G. Loury)
     Quarterly Journal of Economics, (November 1980).

"The Law and Economics of Rights in Valuable Information: A Comment," Journal of Legal Studies,
     (December 1980).

"Price Discrimination: Vertical Integration and Divestiture in Natural Resources Markets," (with J.
      Perloff) Resources and Energy, (March 1981).

"The Spatial Effects of a Tax on Housing and Land," Regional Science and Urban Economics,
     (November 1981).

"Comments on Weicher," Journal of Law and Economics, (December 1981).

Comment, in Sherwin Rosen ed. Studies in Labor Markets, University of Chicago Press, (1981).

"Planning and Market Structure," in The Economics of Information and Uncertainty, edited by J.J.
     McCall, University of Chicago Press, (1982).

"The Disruptive Effect of Inflation on the Organization of Markets," in Robert Hall, ed. The Economics
     of Inflation, University of Chicago Press, (1982).

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     J. Macey ed., Classics in Corporate Law and Economics, Edward Elgar Publishing (2008),
     reprinted in part in Roberto Romano, Foundations of Corporate Law, Oxford University Press
     (1993), Foundation Press (2010 forthcoming), and Corporate Law Series – Insider Trading,
     Edward Elgar Publishing (2011 forthcoming).

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     Continuous Endogenous Variables," The Review of Economics and Statistics, (August 1983).

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     Law Review, (August 1983).

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     (Autumn 1983).

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     (1984).

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     Malliaris and W.F. Mullady, Edward Elgar Publishing Limited, 1995; and in Classic Futures:
     Lessons from the Past for the Electronics Age, edited by Lester Telser, Risk Books, 2000.)

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     Integrity of American Trademarks (COPIAT), (May 1985).

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     (with G. Loury) Quarterly Journal of Economics, (August 1986).

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     Understanding Macroeconomics?" in Handbook of Industrial Organization, eds. Schmalensee
     and Willig, (1989).

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     Economics, (October 1989).

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    Microeconomics, (1990).

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     1990).

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     Banking, (August 1991, Part 2).

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"The Antitrust Economics of Credit Card Networks," (with A. Frankel) Antitrust Law Journal, (Winter
     1995).

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                              Exhibit 2


                        Materials Relied On
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Legal Documents, Expert Reports, and Depositions

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